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\ IN THE UNITED STATES DISTRICT COUR U.S. DlSTRICT COURT
FOR THE NORTHERN DlSTRICT OF TEXAS`IORTHERN DlSTRlCT OF TEXAS
DALLAS DIVISION FILED
METROPCS COMMUNICATIONS, § \
INC., METROPCS III, INC., § CLERK U ` \ `T CGURT
METROPCS II, INC., METROPCS AWS, § By ‘ W ‘
LLC, METROPCS, INC., METROPCS § \D\P ,¢/
WIRELESS, INC., METROPCS § \\]
MICHIGAN, INC., METROPCS TEXAS, §
LLC, METROPCS GEORGIA, LLC, § _ w g 1 _ n
METROPCS CALIFORNIA, LLC, § 3 0 6 (/ V 1 5 9 §§ "“ b
METROPCS FLORIDA, LLC AND GWI §
PCSl, INC. § CIVIL ACTION NO.
§
Plaintiffs, §
§
v. §
§
LEAP WIRELESS INTERNATIONAL, §
INC. and CRICKET §
COMMUNICATIONS, INC., §
§
Defendants. §

 

 

 

 

 

ORIGINAL COMPLAINT FOR DECLARATORY JUDGMENT
OF PATENT NON-INFRINGEMENT AND INVALIDITY

Plaintiffs MetroPCS Communications, Inc., MetroPCS III, Inc., MetroPCS II, Inc.,
MetroPCS AWS, LLC, MetroPCS, Inc., MetroPCS Wireless, Inc., MetroPCS Michigan, lne.,
MetroPCS TeXaS, LLC, MetroPCS Georgia, LLC, MetroPCS California, LLC, MetroPCS
Florida, LLC, and GWI PCSI, Inc. (collectively “the MetroPCS entities”), for their Complaint
against Defendants Leap Wireless International, Inc. (“Leap”) and Cricket Communications, Inc.

(“Cricket”) (collectively “Defendants”), hereby allege as follows:

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NATURE OF THE ACTION

l. This is an action arising under the Declaratory Judgment Act, 28 U.S.C. § 2201,
et seq. , for a declaratory judgment that a patent owned by Leap and/or Cricket is not infringed by

any of the MetroPCS entities and is invalid.

THE PARTIES

2. MetroPCS Communications, Inc. is a corporation organized and existing under
the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill Lane,
Suite 800, Dallas, Texas 75231.

3. MetroPCS III, Inc. is a corporation organized and existing under the laws of the
State of Delaware, with its principal place of business at 8144 Walnut Hill Lane, Suite 800,
Dallas, Texas 75231.

4. MetroPCS Il, Inc. is a corporation organized and existing under the laws of the
State of Delaware, with its principal place of business at 8144 Walnut Hill Lane, Suite 80(),
Dallas, Texas 75231.

5. MetroPCS AWS, LLC is a limited liability company organized and existing under
the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill Lane,
Suite 800, Dallas, Texas 75231.

6. MetroPCS, Inc. is a corporation organized and existing under the laws of the State
of Delaware, with its principal place of business at 8144 Walnut Hill Lane, Suite 800, Dallas,
Texas 75231.

7. MetroPCS Wireless, Inc. is a corporation organized and existing under the laws of
the State of Delaware, with its principal place of business at 8144 Walnut Hill Lane, Suite 800,

Dallas, Texas 75231.

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8. MetroPCS Michigan, Inc. is a corporation organized and existing under the laws
of the State of Delaware, with its principal place of business at 8]44 Walnut Hill Lane, Suite
800, Dallas, Texas 75231.

9. MetroPCS Texas, LLC is a limited liability company organized and existing
under the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill
Lane, Suite 800, Dallas, Texas 75231.

10. MetroPCS Georgia, LLC is a limited liability company organized and existing
under the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill
Lane, Suite 800, Dallas, Texas 75231.

ll. MetroPCS California, LLC is a limited liability company organized and existing
under the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill
Lane, Suite 800, Dallas, Texas 75231.

12. MetroPCS Florida, LLC is a limited liability company organized and existing
under the laws of the State of Delaware, with its principal place of business at 8144 Walnut Hill
Lane, Suite 800, Dallas, Texas 75231.

13. GWI PCSl, Inc. is a corporation organized and existing under the laws of the
State of Delaware, with its principal place of business at 8144 Walnut Hill Lane, Suite 800,
Dallas, Texas 75231.

14. On information and belief, Leap is a Delaware corporation with its principal place
of business at 10307 Pacific Center Court, San Diego, CA 92121.

15. On information and belief, Cricket is a Delaware corporation With its principal

place of business at 10307 Pacific Center Court, San Diego, CA 92121.

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JURISDICTION

16. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331 and l338(a) because this action arises under the patent laws of the United States.
17. This Court has personal jurisdiction over Leap and Cricket because they have
established minimum contacts with the forum and the exercise of jurisdiction over Leap and
Cricket would not offend traditional notions of fair play and substantial justice, as Leap and

Cricket do business in Texas and solicit customers in Texas.

VENUE

18. Defendants have committed acts within this judicial district that give rise to this
action and do business in this district, including providing services and support in this district for
their respective customers Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) (c)

and l400(b).

FACTUAL BACKGROUND

19. Leap and/or Cricket are the assignees of record of United States Patent No.
6,959,183 entitled “Operations Method for Providing Wireless Communications Services and
Network and System for Delivering Same” (“the ’ 183 Patent”), attached hereto as Exhibit “A”.

20. A valid case or controversy exists between the MetroPCS entities and Leap and
Cricket concerning the ‘183 Patent. Leap and Cricket already have sought enforcement of
United States Patent No. 6,813,497 (“the ‘497 Patent”) against one of the MetroPCS entities in
another federal district court. The ‘183 and ‘497 Patents share virtually identical patent
specifications describing wireless communications services based upon flat rate pricing and
providing an “all-you-can-eat” pricing mode and designing capacity based upon where the users

live, work, and play. Leap and Cricket, in their action to enforce the ‘497 Patent, have alleged

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that one of the MetroPCS entities provides flat-rate “all-you-can-eat” service, which is part of the
specification which makes up the ‘183 Patent.

21. On information and belief, Leap and Cricket have enforced their patent and have
entered into a license with at least one other flat-rate “all-you-can-ea ” wireless provider related
to the ‘183 Patent. Based on these facts, the MetroPCS entities are threatened by the ‘183 Patent
and require declaratory relief.

22. A valid and justifiable controversy regarding the ‘183 Patent has arisen between
the MetroPCS entities and Leap and Cricket that is properly presented for judicial relief under
the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

23. The MetroPCS entities have not infringed and are not infringing any valid and

enforceable claim of the ‘183 Patent. In addition, the claims of the ‘183 Patent are invalid.

COUNT

(Request for Declaratory Judgment of Non-Infringement and Patent Invalidity of U.S.
Patent No. 9,959,183)

24. The MetroPCS entities re-allege and incorporate herein by reference the
allegations contained in Paragraphs 1 through 24.

25. The MetroPCS entities have not infringed, have not contributed to infringement
by others of, and have not induced infringement by others of, any valid and enforceable claim of
the ‘183 Patent, either literally or under the doctrine of equivalents

26. Based on statements made by the applicant during prosecution of the ‘183 Patent,
Defendants are estopped from asserting that the MetroPCS entities infringe the ‘ 183 Patent.

27. The ‘183 Patent is invalid for failing to satisfy one or more of the conditions of

patentability under 35 U.S.C. §§ 101, 102, 103 and/or 112.

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PRAYER FOR RELIEF

WHEREFORE, the MetroPCS entities pray for judgment and seek relief against each of

the Defendants as follows:

(a) Declare that the MetroPCS entities have not infringed, have not contributed to
infringement by others of, and have not induced infringement by others of, any
claims of the ‘ 183 Patent, either literally or under the doctrine of equivalents;

(b) Declare that the claims of the ‘183 Patent are invalid;

(c) Enter an order preliminarily and permanently enjoining Defendants, their officers,
directors, servants, managers, employees, agents, successors and assignees, and
all persons in active concert or participation with any of them, from directly or
indirectly charging or prosecuting any of the MetroPCS entities with infringement
of any claim related to the ‘ 183 Patent; and

(d) Award MetroPCS such other and further relief as this Court deems just and

proper.

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DATED: this 3rd day of August, 2006.

OF COUNSEL:

FULBRIGHT & JAWORSKI L.L.P.

2200 Ross Avenue, Suite 2800
Dallas, Texas 75201
Telephone: 214-855-8000
Facsimile: 214-855-8200

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Respectfully Submitted,

 

Brett C. Govett

Texas Bar No. 08235900
Robert M. Chiaviello, Jr.
Texas Bar No. 04190720
Michael J. Fogarty, III
Texas Bar No. 24002097

COUNSEL FOR PLAINTIFFS

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<12) United States Patent (10) Patent No.= Us 6,959,183 32
Hutcheson et al. (45) Date of Patent: Oct. 25, 2005
(54) OPERATIONS METHOD FOR PROVIDING 5,826,185 A 10/1998 Wise et al.
WIRELESS coMMUNlCATIoN sERvICEs 5,839,058 A 11/1998 Phillips er al-
AND NETWORK AND sYsTEM FoR 5,845»118 A 12/1998 Alfs°h“l
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DELIVERING SAME 5,852,775 A 12/1998 Hidary
(75) Inventors: Doug Hutcheson, San Diego, CA (US); §’§;g’:;; § 1§;:;§§ ;§l’l§.m°stetlal'
M' hael Bn'nk, Bend oR (Us)~ scot ’ ’ .‘ ‘p* c “'
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Ja"ls» Sammamlsh» WA (US) 5,887,253 A 3/1999 o’Neil et al.
_ _ . 5,915,226 A 6/1999 Manineau
(73) Assignee: Leap ereless Internatlonal, Inc., San 5,946>330 A 3/1999 Cohen et al,
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patent is extended or adjusted under 35 5,966,654 A 10/1999 Cr°“ghwen et al~
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. . 6,036,090 A 3/2000 Rahman et al.
(22) Fll°d' Ja“' 30’ 2001 6,044,261 A * 3/2000 Kazmi ........................ 455/408
(65) Prior Publication uaw 6,049,710 A 4/2000 Nilsson
Us 2002/0173291 A1 Nov. 21, 2002 (COmiml€d)

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(60) Provisional application No. 60/241,833, filed on Oct. 20, EP 1066867 A2 1/2001

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EP 1086732 Al 3/2001
(51) Int. Cl.7 ............................................... H04M 11/00 EP 1087323 Al 3/2001
(52) U.S. Cl. 455/406; 455/405; 455/407;
455/408; 379/114.05; 379/114.06 Pn'mury Examiner_William Trost

(58) Field of Search ................................. 455/405~408, ASSiSl`llm` Exami"€r*$harad Ramplll'ia

455/452.2, 445, 422.1, 453, 560; 379/114.05_114.06, (74) Almmey, Agem, ar Firm_Reed Smilh LLP

114.01, 114.02; 463/39 (57) ABSTRACT

(56) References Cited The present invention is directed to an improved operations

method for a \m`reless communication system. The improved

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and designing capacity based upon where the users live,
Work, and play.

 

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EXHIB|T

 

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Pre-Cut CHA Coverage

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l |n-Bul|d|ng (Urban)(-BSdB)

 

 

 

 

 

 

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l ln-Vehic|e (-96dB)

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Uln-Building (Urban)(-SSdB)

 

 

 

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Fre-Cut CHA Cnverage

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l ln-Sui|ding (Residentia|)(-92d8)
l |n~Bui|ding (Com mercia|)(-BQdB)
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l On-Stleet (-104dB)
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FIG. 9b

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. In-Buitding (Residential)(~92dB)

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U.S. Patent

 

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OPERATI()NS METHOD FOR PROVIDING
WIRELESS COMMUNICATION SERVICES
AND NETW()RK AND SYSTEM FOR
DELIVERING SAME

CROSS REFERENCE TO RELATED PATENT
APPLICA'I'ION

This application relates to and claims priority on provi-
sional application Ser. No. 60/241,833, filed Oct. 20, 2000
and entitled “GPERArroNs METHOD FoR PRoerrNG WIRE-
LEss COMMUNICAHONS SERVICES AND NETwoRK AND SYs-
TEM FoR DELIVERING SAME.”

FIELD OF THE INVENTION

The present invention relates to an improved business
method, operations method, network and system for deliv-
ering wireless communications services, The business
method, operations, and network and system of the present
invention may be used separately, or in combination The
invention is adapted to higher overall network capacity,
lower peak capacity, and higher overall network usage,
relative to prior known methods, networks, and systems for
delivering wireless communications services. The present
invention may feature fiat rate billing of users. This is in
contrast to prior known wireless services, in which services
are delivered on a per call or per minute usage charge basis.
This change in pricing model affects usage and capacity of
the network in certain ways. In a preferred embodiment, the
system and network of the present invention employs flat
rate billing, achieves high capacity utilization of network
components, and achieves lower peak capacity. These fea-
tures enable the network and system of the present invention
to handle a higher overall Volume of calls with less costly
central network components and more streamlined opera-
tions than conventional cellular systems

BACKGROUND OF THE INVENTION

Wireless communications services represent the fastest
growing segment of the telecommunications industry world-
wide. Although the Telecommunications Act of 1996 was
intended to open the competitive environment in the United
States, allowing many new entrants into the local access
loop, growth has been constrained by several factors. Sorne
of these factors are endemic to any communications system
(limited bandwidth, high capital costs, etc.). Other con-
straints are imposed by the business models that have come
to be generally accepted in the industry. Most land line and
wireless operators typically derive the majority of their
revenues and profits from a relatively few_-“heavy” and
“business”_users of their networks The heavy and busi-
ness user segments have come to be considered the most
desirable segment of the wireless customer population, due
to their relative price inelasticity. Land line providers have
typically focused on business users. Accordingly, per minute
of usage pricing of cellular services has been adapted to that
conventional business model, which Was introduced in the
late 1980’s. That conventional model, however, imposes
constraints on operations and networks, and presents high
usage charges to casual users. These patterns have, in fact,
been favored by cellular operators due to the high profit-
ability levels they oifer.

Aconventional wireless system of the type known prior to
the present invention is described by Robert C. Raciti, in
CELLULAR 'l`ECHNOLOGY (July 1995), which is incorporated
herein by reference. Prior known cellular networks are
typically constructed to achieve a relatively uniform level of

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coverage over a preselected service area. The service area is
extended to a greater metropolitan area, namely, major
population centers and major highway connections.
Generally, the service area is specifically adapted to serve
roaming traHic, which is billed at a higher rate.
Consequently, roaming is favored in prior known systems.
The service has been marketed on the breadth of coverage as
well as complex features, targeted at the heavy and business
users.

Network capacity is rationed, to avoid over use of the
network, by maintaining pricing levels that tend to limit
casual usage. Use is metered by price, and constrained by
that pricing Within the design limits of the system. When the
existing wireless communications operators have looked at
moving their market focus from the typical business users to
a broader market, they have typically introduced prepaid
services that allow the consumer to control the costs but
have required very high per minute usage charges.

Wireless communications networks using this conven-
tional business model typically comprise three basic com-
ponents: Cell sites with RF base stations; Mobile Telephone
Switching Olfices (MTSO); and mobile phones that are
provided to subscribers Each base station contains a radio
transceiver and controller, and provides radio communica-
tions to the mobile phone units operating in its ccll. The cells
are typically engineered into a network that is deployed in a
hexagonal cell pattern, in order to provide local, regional, or
national cellular coverage.

The MTSO links calls together using traditional copper,
fiber optic, and/or microwave technology and acts as a
central office exchange, allowing users to place a call on the
local and long distance public telephone systems or mobile
to mobile traflic. It allows mobile communication devices in
the cell to dial out and alerts devices in the cell of incoming
calls. The MTSO continuously monitors the quality of the
communications signal and transfers the call to another base
station that is better suited to provide communications
services to the mobile device.

The mobile communication devices comprise hand-held
phones, car phones, notebook computers, personal digital
assistants, pen-based computers, palm-top computers,
pagers, hand-held e-mail devices (such as those produced
under the BlackberryTM brand), and portable data collection
devices. The present inventors anticipate that, although the
majority of cellular traiiic has traditionally been voice
communications, the relative proportion of traffic that com-
prises data, text, and potentially video, messages is increas-
ing and is expected to increase dramatically in the coming
years. The present invention is intended to work with all
wireless communications devices. When these various types
of mobile units communicate with the network, they must
register with the system by subscribing with a wireless
operator.

Most wireless operators of prior known systems have
arrangements with other operators allowing users to mam.
Roaming occurs when the mobile unit is outside the cover-
age area of their “home” cellular service provider and an
alternative cellular provider handles the communication
Mobile units may also be connected to the Public Switched
Telephone Network (PSTN) operated by an Incumbent
Local Exchangc Carrier (ILEC), Competitive Local
Exchangc Carrier (CLEC), Regional Bell Operating Com-
pany (RBOC), long distance carrier, or other telecommuni-
cations provider.

The radio spectrum used for wireless (cellular) commu-
nications comprises many bands that are allocated and used

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for commercial, personal, and military nse. Fifty (50) MHZ
of spectrum is allocated to cellular networks in the 824-849
MHZ and the 869-894 MHZ bands This spectrum has been
allocated into two 25 Mhz bands and has generally been
allocated to very large service providers Other bands of
spectrum have been allocated for wireless communications
PCS is a wireless communications network that operates at
a radio frequency of 1.9 GHZ. This spectrum has been
subdivided into three 30 Mhz and three 10 MhZ bands that
are used by both large service providers and many new, more
innovative service providers The allocation of radio spec-
trum in the United States is described in the NTIA Manual
of Regulations and Procedures for F ederal Radio Frequency
Management, Ch. 4, at 4_4 to 4-91 (2000), which is
incorporated herein by reference

Several types of network access are available in the
United States including, without limitation; Advanced
Mobile Phone Systems (AMPS), Time Division Multiple
Access (TDMA) (in two formats), and Code Division Mul-
tiple Access (CDMA). AMPS is the cellular standard that
has been extensively deployed in North America and has
been commercially available Since 1983. The current cellu-
lar standard describing access methods to the network is
IS-553. lt divides 50 MHZ of spectrum into 832 frequency
channels each 30 KHZ wide. Various organizations such as
the Portable Computer and Communications Association
(PCCA), modern manufacturers computer manufactures,
and service providers, have worked together in defining the
IS-553 interoperability standard.

Tirne Division Multiple Access (TDMA) is a digital
access method that allocates time slots to diiferent users,
allowing them to share similar radio frequency channels
TDMA divides each frequency channel into six time slots
and allocates two slots to each user. This time division of the
carrier signal increases the network capacity by 300% (a
factor of 3). Standard IS-54, currently upgraded to IS-136,
describes a dual mode network access method allowing
mobile units the choice of using TDMA or AMPS operation.

Code Division Multiple Access (CDMA) sends multiple
messages over the same wide frequency channel that is
decoded at the receiving end. Each mobile unit in a cell is
assigned a different spreading sequence. This allows mul-
tiple users to share the same frequency spectrum. The use of
CDMA increases network capacity by an order of magnitude
(a factor of ten). CDMA network access standards are
specified in standard IS~95, Which is incorporated herein by
reference TDMA and CDMA digital access methods olfer
superior performance in terms of higher capacity, improved
voice quality, encryption for communication privacy, and
integration with digital terrestrial networks

Cellular Digital Packet Data (CDPD) is a technology
standard sponsored by the RBOCS and McCaw Cellular.
CDPD overlays packet switching onto the existing cellular
voice network, and transmits data packets over the idle
capacity. This packet overlay is based on an Internet proto-
col backbone and does not need the call setup procedures
that are required for switched voice calls This makes CDPD
adapted to short, bursty message applications such as point-
of-sale (POS) credit card verification, vehicle dispatch,
package tracking, and e-mail. CDPD generally increases the
network utilization, yet, excessive data traffic may cause
interference with existing cellular calls

There are a number of other wireless applications that
may be used in conjunction with cellular telephony or
separately: digital communications such as CDMA,' cordless
telephones; paging; specialized mobile radio (SMR); and

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satellite communication Networks based on digital commu-
nications typically have a greater capacity than analog
networks for carrying voice and data traliic than analog
networks

Michael E. Porter, in COMPErmvE STRATEGY (1980),
which is incorporated herein by reference, described various
stages through which products progress through their life
cycles: introduction; growth; maturity; and decline. Prior to
the present invention, the cellular industry has remained in
its growth phase. Some characteristics of Porter’s growth
phase are: growth in use; widening of the buyer group;
improved reliability; competitive product improvements;
increased advertising; increased channels of distribution;
and high profit margins The cellular industry has shared
these features prior to the present invention.

There are approximately 100 million cellular customers in
the United States Cellular service is growing at a rate of
approximately 1 million new customers every month. The
buyer group has widened, extending the initial buyer group
of large businesses to include most businesses System
reliability has improved, greatly. There have been many
competitive product improvements such as digital technol-
ogy advancements, voicemail, encryption, and enhanced
battery life. Cellular products and services are featured
widely in advertising on television, radio, print, and on the
Internet. Altemate channels of distribution are also becom-
ing more popular. For example, retail ohice supply,
electronic, and computer chains are actively marketing cel-
lular phones and services Throughout this period of growth,
cellular operators have enjoyed high profit margins

McCaw Cellular was one of the early entrants into the
wireless telephone market. The business model developed
by McCaw (AMPS) has come to be generally accepted as
the predominant business model for rendering cellular
service, at least in the United States A typical cellular
system configuration of the type that was known prior to the
present invention is described by Heith Knightson, in
Dl_CELLULAR NErwoRK lNFRAs'rRUcruRn-Volcn AND
SHoKr MEssAGE SEercEs, Telecomrnunications Standards
Advisory Council of Canada (1997), which is incorporated
herein by reference As described by Knightson, AMPS is
based on analog RF technology operating on frequencies
825-844 MHZ and 870-899 MHZ. The definitive standard
for AMPS voice services is TIA IS-53 Cellular Features
Descn'ption, which is incorporated herein by reference The
mechanisms to implement these services are given in TlA
IS-41 Cellular Radio Telecommunications Intersystem
Operations, which is incorporated herein by reference

Prior to about 1997, AMPS was generally considered to
be the main technology for providing mobile phone service.
Currently, digital technologies such as TDMA and CDMA
have gained ascendency. These digital technologies offer
improved voice quality and increased capacity. Standards
have been promulgated for each technology, which are
incorporated herein by reference Although the technologies
for TDMA and CDMA are different from AMPS, some of
the equipment, infrastructure, and standards currently
deployed for AMPS may be used in CDMA and TDMA
networks The radio portions (physical layer) of the mobile
phones and base stations have been modified to support
these new RF technologies

The cellular network is viewed by the PSTN as an
alternative End Oifice, where voice traiiic originates and
terminates The interface between the PSTN and cellular
network operates SS7 protocols, which are incorporated
herein by reference Within the cellular network, the signal-

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ing and voice traliic operate over separate trunking facilities
just as in the land line network. The SS7 protocol is used to
carry signaling information over these out-of-band common
channel signaling facilities This separation of signaling and
voice traffic is also preserved over-the-air. Between the
mobile phone and the base station, the Forward Control
Channel and Reverse Control Channel convey signaling
information Voice traffic is transmitted over the Forward
Voice Channel and Reverse Voice Channel.

FIG. 1 illustrates the relationship between the cellular
network infrastructure and the PSTN in wireless communi-
cations systems of the type that were common in the cellular
industry prior to the present invention The IS-41 messages
are routed via Signaling Transfer Points (STPs). The S'I'Ps
handle network routing. In particular, the route to the Home
Location Register (HLR) for a specific mobile phone is
handled by the STP. This has the advantage that, as the
network expands and ranges of mobile phone numbers are
assigned to different HLRs or new ranges come into service,
only the routing tables in the STP need be updated. Mobile
Switching Centers (MSCs) do not need to maintain fill
routing tables to all other MSCs. FIG. 2 illustrates the
functions and interfaces that support voice services The
interface reference points are denned in the lS-41 standard,
which is incorporated herein by reference, to ensure correct
interoperation of equipment

A typical cellular system prior to the present invention
was understood to comprise the following functional ele-
ments:

Authentication Center (AC): The AC manages the authen-

tication information related to the Mobile Station (MS).
The AC may, or may not be located within, and be
indistinguishable from an Home Location Register
(HLR). An AC may serve more than one HLR.

Base Station (BS): The BS describes all of the radio
equipment at a single location used for serving one or
more cells The Base Station comprises a Base Station
Controller and the Base Station Transceiver systems

Equipment Identity Register (EIR): The EIR maintains
user equipment identity information The nature,
purpose, and utilization continues to develop and the
present inventors intend that all such uses to which
these components may be put are considered part of the
present invention The EIR may, or may not, be located
within, and be indistinguishable from an Mobile
Switching Center (MSC).

Home Location Register (HLR): The HLR is the location
register to which a user identity is assigned for record
purposes such as subscriber information (e,g. ESN,
MDN, Profile Information, Current Location, Authori-
zation Period). The HLR may, or may not be located
within, and be indistinguishable from an MSC. The
HLR may serve more than one MSC. The HLR may be
distributed over more than one physical entity.

Integrated Services Digital Network (ISDN): The lSDN is
defined by the appropriate ANSI T1 Standards which
are incorporated herein by reference.

Mobile Station (MS): The MS is the interface equipment
used to terminate the radio path at the user side. It
provides the capabilities to access network services by
the user.

Mobile Switching Center (MSC): The MSC provides the
interface for user traiiic between the cellular network
and other public switched networks or other MSCs in
the same or other cellular networks

Public Switched Telephone Network (PSTN): The PSTN
is defined by the applicable ANSI T1 Standards

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Visitor Location Register (VLR): The VLR is the location
register other than the HLR used by an MSC to retrieve
information for handling of calls to or from a visiting
subscriber. The VLR may, or may not be located within,
and be indistinguishable from an MSC. The VLR may
serve more than one MSC.

The main feature of the cellular network voice service
when compared with POTS (plaiu old telephone service) is
the geographical mobility of the phone. The equipment and
interfaces depicted in FIGS. 2 and 3 perform two main
functions First, they transmit and receive voice signals over
the radio spectrum. This is primarily the function of the Base
Station and Mobile Station, which occurs over the Um
interface. Second, they track where each mobile phone is
within the cellular network. This is called “mobility man-
agement” and is performed by the MSC, referencing and
dynamically updating the HLR and VLR databases. As
shown in FIGS. 2 and 3, this occurs over the C, D, B, and
E interfaces

The interfaces and standards associated with these two
functions of RF transmission and mobility management are
distinct to cellular voice services The other interfaces
connect the cellular network to the existing land line tele-
phone network (PSTN or ISDN), support authentication of
users and equipment (AC and EIR), or support special
features such as the Short Message Service (as shown in
FIG. 3), that are not shown in the previous figures These
functions of network interconnection, security, and special
services are not unique to the cellular network. Similar
functions can be found in all land line telephone networks

The generally accepted consensus standards applicable to
wireless communications systems of the type known prior to
the present invention are identified in Table 1, each of which
standards are incorporated herein by reference:

TABLE 1

 

Standards App_licable to Wireless Communications Interfaces

 

Applicable

Standards Comments
Interface l'I'U/ISO ANSI/I'l.A/EIA
A: BS to MSC interface n/a n/aIS-634
Ail MSC to PSTN interface X 25 SS7IS-93-A
B: MSC to VLR interface X 25 SS7IS-41.2, IS-41.3
C: MSC to HLR interface. X.25 SS7IS-41.Z, IS-41.3
D: VLR to HLR interface X.25 SS7IS-41.2, IS-41.3
Di: MSC to lSDN interface ? T1.611lS-93-A
E. MSC to MSC interface X.25 SS7IS-41.2, IS-41.3,

lS-41 4

F' MSC to EIR interface not defined not defined,
H. H]_,R to AC interface. X.25 SS7IS-41.2, IS-41.3
Q: X.25 SS7[S-41.2, IS-41.3
Um: BS to MS interface, which n/a n/aIS-54»B

corresponds to the air interface ('I'DMA and AMFS),
IS-88 (NAMPS),

1s95-A (cDMA)

 

Notes:

SS7 refers to the ANSI standards T1.111, T1.112 and T1 114.

X.25 refers to I'I'U Recommendation X.25 and ISO 8878, ISO 8208 and
ISO 7776,

Consensus standards for wireless communications networks
have been promulgated by various bodies Table 2 identifies
the most prominent standards each of Which are incorpo-
rated herein by reference.

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TABLE 2

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TABLE 2-continued

 

Wireless Communications Standards

Wireless Communications Standards

 

ANSI/TIA/EIA
Standards:
T[A/ElA-660

T[A/ElA-664

TIA/EIA/IS-93

TlA/ElA/lS-41-C.l
rI'IA/EIA/[S-41-C.2
TlA/ElA/IS-41-C.3

'I'[A/EIA/[S-41-C.4

'I`IA/EIA/IS-41 -C.5
'I'[A/ElA/IS-41 -C. 6

T[A/EIA/IS-732

T[A/ElA/IS-634

AMPS:
EIA/TlA-553
CDMA:

'I'[A/ElA/IS-95

TIA/EIA/IS~97

'I'[A/F.IA/IS~ 637

DMH'

 

T[A/EIA/IS- 124

NAMPS:

TIA/ElA/IS-SS

TlA/ElA/IS-91

TDMA:

T[A/ElA/IS-54-B

TIA/EIA/IS‘]36

Uniform Dialing Procedures and Call Processing
Treatment for Cellular Radio Telecommunications;
Telecommumcations Industry Associatron

Cellular Featu.res Description; Telecomrrruoications
Industry Association

Cellular Radio Telecommunications Ai - Di Inter-
faces Standard, Telccommunications Industry
Association

Cellular Radio Telecommunications Intersystem
Operatioos. Functional Overview;
Telecommunications Industry Association

Cellular Radio Telecommunications Intersystem
Operations: Intersystem Hand-off Information
Flows; Telecommunications Industry Association
Celltdar Radio Telecommunications Intersystem
Operations: Automatic Roaming information Flows;
Telecommunications Industry Association

Cellular Radio Telecommunications Intersystem
Operations. Operations, Administration, and
Maintenance Information Flows and Procedures;
Telecommunications Industry Association

Cellular Radio Telecommunications Intersystem
Operations' Signaling Protocols;
Telecommunications Industry Association

Cellular Radio Telecornmunications Intersystem
Operations' Signaling Procedures;
Telecornmunications lndustry Association

Cellular Digital Packet Data Specification;
Telecornmunications Industry Association.
800-MHZ A-Interface Supporting AMPS, NAMPS,
CDMA, TDMAAir Interfaces; Telecornmunications
Industry

Mobile Statron - Land Station Compatibility
Specification

A Mobile Station - Base Station Compatibility
Standard for Dual-Mode Wideband Spread
Spectrum Cellular System;

Telecommunications Industry Association
Recommended Minunum Performance Standards
for Base Stations Supporti.ng Dual-Mode Wideband
Spread Spectru.m Cellular Mobile Stations;
Telecommunications Industry Association

Short Message Services for Wideband Spread
Spectrum Cellular System; Telecommunications
Industry Association

Cellular Radio Telecommunications Intersystern
Non-Signali.ng Data Communications (DMH);
Telecommunications Industry Association

Mobile Station - Land Statioo Compatibility
Standard for Dual-Mode Narrow Band Analog
Cellular Technology;

Telecommunications Industry Association
Mobile Station ~ Base Station Compatibility
Standard for 800 MHZ Analog Cellular;
Telecommunications Industry Association

Cellular System Dual -Mode Mobile Station -
Base Station Compatibility Standard;
Telecommuoications Industry Association

800 MHZ TDMA Cellular - Radio Interface -
Mobile Station - Base Station Compatibility
Standard; Telecommunications Industry Association

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ANSI Tl Standards:

T1.111 Sigoaling System Number 7 -

Message Transfer Part (MI'P)
T1 112 Signaling System Number 7 »

Signalilig Connection Control Part (SCCP)
T1.114 System Number 7 -

Transaction Capabihties
Application Part (TCAP)

T1.611 Signaling System Number 7 (SS7) -
Supplementary Services for
Non-ISDN~Subscribers

T1.209 Operations, Administration, Maintenance,
and Provisioning (OAM&P) -

Network Tones and Announcements

ITU-T Standards:

T.50 loternational Reference Alphabet (IRA)
formerly Alphabet No 5 (or lA5)

Other Related

Documents:

SR-TSV-002275 Notes on the LEC Networks;
Bell Communications Research Inc.
TR-NWT-000776 Network Interface Description for
National lSDN-1 Customer Access;
Bell Commummtions Research Inc.

 

In addition to the above services many wireless communi-
cations networks also feature Short Message Service (SMS).
SMS includes the following additional elements:

Message Center (MC): The MC stores and forwards short
messages The MC may also provide supplementary
services for Short Message Service.

Short Message Entity (SME): The SME composes and
decomposes short messages The SME may be imple-
mented in many ways such as an operator assisted
service or interactive voice response service. An SME
may, or may not be located within, and be indistin-
guishable from, an HLR, MC, VLR, MS, or MSC.

The interface reference points in FIG. 4, which support the
Short Message Service, are:

Interface M is the SME to MC interface;

Interface N is the MC to HLR interface; and

Interface Q is the MC to MSC interface.

FIG. 3 depicts a cellular network, of the type known prior
to the present invention, which further comprises a Message
Center (MC) and Short Message Entity (SME), in addition
to the infrastructure shown in FIG. 2. SMS is a data service
available over the AMPS network, lt is defined in IS-41, and
is included under voice services because it is an integral part
of the IS-41 specification SMS allows a single packet of
data to be transmitted to or from a mobile phone. SMS does
not require packet fragmentation or re-assembly. Message
integrity must be maintained across all interfaces including
the air (Um) interface. The SMS attempts to deliver the
message whenever the mobile phone is registered on the
cellular network, even when the phone is engaged in a voice
or data call.

By early 1998, although the market continued in what
Porter defines as its growth stage, some of the constraints
imposed by the accepted cellular operation model had
become apparent to the present inventors Existing cellular
business models in the United States had become stagnant.
Only one business model as the McCaw, “AMPS” model-
had come into widespread use and the growth of the wireless
market had been limited to relatively price-insensitive users

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based upon that model Accordingly, the present inventors
perceived that known business methods limit future growth.
These constraints include price, access to credit-challenged
users ability of users to control their monthly expenditures
under prior billing models high network operating costs
high back oliice support costs high capital costs low capital
utilization, and other related limitations

Capaeity constraints were widely perceived to be a prob-
lem. Yet, the only apparent technical solutions were
approaches to expand peak system capacity. Techniques to
utilize existing capacity more efiiciently, or using emerging
technology through modification of the business model,
were unknown

For example, Motorola and Qualcomm have both been
very active in advancing the development of cellular tech-
nology, Kaschke, et al., U.S. Pat. No. 6,078,821, discloses a
cordless radiotelephone system having an extendable geo-
graphic coverage area and a method therefor. Cukak, et al.,
U.S. Pat. No. 6,058,106, discloses a method for providing a
centrally coordinated peer-to-peer wireless communications
network. Smith, et al., U.S. Pat. No. 5,432,'780, discloses a
high capacity sectorized cellular communication system.
Willkie, et al., U.S. Pat. No. 5,956,651, discloses a cellular
telephone interface system for AMPS or CDMA data ser-
vices None of these solutions however, sought to resolve
any capacity limitations through modification of the basic
McCaw-type, cellular business model, described above.

Hence, prior to the present invention, entrenched business
and pricing models limited the attractiveness of cellular
services primarily to business users who were relatively
insensitive to pricing. Average Revenue Per User (ARPU) of
many cellular operators of these systems had stagnated.
Most cellular networks were employing the same business
and technical models resulting in little relative differentia-
tion between cellular operators Operators typically resisted
the incorporation of new technology, Changes in one portion
of a regional or nationwide network could have implications
for the entire network. Although most systems had been built
to a relatively high peak capacity level, average capacity
utilization in most systems was relatively low. Capital
utilization was low. Customers were severely segregated
based upon pricing. Pricing, in turn, tended to restrict usage.

The cellular industry typically characterizes usage pat-
terns based upon the number of minutes a phone is used each
month. Table 3 below, identifies typical usage patterns by the
number of minutes used per month:

TABLE 3

 

Tradrtronal Market Segmentation Prior to the Present

Invention Based upon Minutes of Usage §MOU}

 

Usage Minutes of Use per Month Average Revenue per User
Very Heavy >500 >$100

Heavy 400-500 min./mo. >$75

Business 200-300 min./mo. 540-75
Consumer 100-150 min./mo. 325-40

Mass Market 15-20 min./mo. $15-25

 

In a cellular network of the type known prior to the
present invention, the Mass Market customer group was
considered sensitive to price, relative to heavy users Prior to
the present invention, due to the deficiencies of the generally
accepted business model for cellular operations marketing
efforts were not generally devoted to this customer segment
Yet, this lowest customer segment (in terms of usage and
ARPU) is also the most numerous Customer growth of most
systems therefore, was inherently limited by their business

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models Design limitations prevented them from expanding
into the mass market.

These pricing constraints and resulting constraints on
overall usage, were Simply accepted by most operators
These constraints enabled operators to reduce the overall
system capacity to a lower relative level, with the anticipa-
tion that consumers would shift their personal economics to
alford these pricing constraints Yet, this model did not avoid
the substantial capital cost of building networks to service
peak capacity levels Moreover, due to the slowness of
incorporating new technologies voice quality of cellular
networks was generally considered inferior to that of wire-
line networks Hence, the prior known cellular operations
business models had failed to deliver cellular services to the
mass market, to improve quality, to reduce peak capacity
and, therefore, the capital requirements on system networks
or to increase overall capacity utilization

Other business approaches had been tried but these too
failed to deliver the benefits of the present invention For
example, in about 1995, PHS introduced in the Japanese
market a strategy of pricing below other cellular providers
and close to wireline providers PHS was successful in
so-called “telepoint” applications in Which subscriber den-
sity is very high. William Webb, UNDERsTANDING CELLULAR
RADIO (1998), at 183»190, which is incorporated herein by
reference The business model was well-received by con-
sumers and the service enjoyed strong initial market pen-
etration The user demographics shifted rapidly from tradi-
tional business users to a mass market demographic user
profile. Nonetheless, the PHS business model failed to
deliver the unique advantages of the present invention for
several reasons including without limitation: unpredictabil-
ity of the monthly costs; poor service quality do to inferior
technology; and churn.

Users employed the service for brief periods then aban-
doned it. This churn left the system operators with high
initial costs of securing new customers and an insufficient
time of retention of those customers to recover the acquisi-
tion cost through monthly service charges This experience
merely reinforced the conventional wisdom that the domi-
nant business model, relatively high-priced cellular service
through a network designed based upon coverage and
designed to a high peak capacity usage, was the appropriate
business model for wireless communications services

Cellular networks have been deployed that incorporate
some of the high capacity features of the present invention,
but these network have been operated on the business model
of prior known systems For example, networks have been
deployed in both Korea (Seoul) and Hong Kong that employ
additional carrier signals to boost system capacity. Prior
known cellular systems typically employed a single carrier
signal. Adding additional carriers substantially increases
system capacity.

These two high capacity Asian cellular systems are heavy
usage CDMAsystems designed around a convention cellular
usage model, of the type known prior to the present inven-
tion. For example, the Seoul, Korea system features up to 6
carriers7 on a CDMA network, using a substantial number of
frequencies The system is operated by SK Telecom and
serves the metropolitan area in Seoul. Hong Kong had a
AMPS and TDMA network. Hong Kong deployed the first
CDMA network system. It, too, features numerous carriers
and extremely high call capacity, due to the density of
downtown Hong Kong.

Both of these lmown, high capacity systems however,
employed a conventional business model, operations
method, network and systems approach. They are designed

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and operated based upon coverage, rather than capacity.
They do not employ the “wireline call model” of the present
invention They do not include the business method,
operations network, and/or systems improvements to
address capacity, namely, providing service primarily where
people live, work, and play. Although these high-capacity
networks in Seoul and Hong Kong featured multiple carriers
and substantially more capacity than prior known systems
they did not include other of the unique features of the
present invention They are both “metered capacity” models
in which usage is billed based upon the number of minutes
used.

As a result of the extensive experience of the cellular
industry, by early 1998, the generally accepted business
model for operating a wireless communications network
involved: primary business users numerous additional fea-
tures for which surcharges applied, relatively high ARPU,
and widespread system coverage to secure additional rev-
enues from roamers passing through the system and paying
higher roaming surcharge rates

Neil J. Boucher, in THE CELLULAR RADro HANDBooK
(1990), which is incorporated herein by reference, discloses
a typical demand curve for a wireless system of the type
known prior to the present invention 'Ihat curve is depicted
in FIG. 4. Such a prior known wireless system has two peak
times during the day. These occur at approximately 11 am
and 7 pm, as illustrated in FIG. 4. In addition, the changes
in demand from peak time to low-usage time are signifi-
cantly high. In contrast, the demand curve for a wireless
system according to the present invention, as shown in FlG.
5, is relatively flat and does not have the peaks and signifi-
cant deltas in demand that occur in prior known wireless
systems FIG. 5 illustrates a typical busy hour utilization of
a preferred embodiment of a wireless system according to
the present invention

In 1997, the present inventors began development of a
new business model for delivering Wireless communica-
tions services The present inventors developed a new
method, operations network, and system for delivering
wireless communications services This invention offered
low cost cellular service to a more numerous mass market,
rather than merely to a limited submarket of relatively price
insensitive business users

Prior known wireless communications operators typically
targeted only high-end market segments namely, heavy
users and business users and not the consumer or mass
markets ARPU values in the consumer ($25 to 40) and mass
market ($15 to 25) were generally understood to be sub-
stantially lower than ARPUs’ for business users ($40 to 75)
and heavy users (>$75). There was no motivation to target
lower ARPU customers prior to the present invention
Addressing these consumer and mass markets through prior
business models would result in higher capital and customer
acquisition costs lower revenues and lower profitability.
Nor was it obvious that increasing market penetration in
these consumer and mass market segments would increase
revenues Particularly in view of the high initial cost of
acquisition and high operating costs of most cellular
systems customers at the low ARPU levels associated with
the consumer and mass markets would have to be retained
for long periods of time. Thus, the prior known business
methods operations networks and systems failed to
address the unique problems addressed and resolved by the
present invention

'Ihe present inventors conducted extensive studies of the
demand for cellular services Based upon these
investigations the present inventors discovered that there

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were several basic flaws and omissions in the prior known
business methods for delivering cellular services
Speciiically, rather than being an unprofitable customer
segment, the mass market and consumer markets could be
viable, provided suilicient costs were driven out of the
cellular operation

This had not been done by prior known business methods
The present inventors discovered that, contrary to the con-
ventional view, as unit price and monthly service fees fell,
consumer interest (in the mass market and consumer market
segments) increased to relatively high levels of penetration
that would support a viable business model,

In order to be profitable, however, additional costs must
be driven out of the traditional method of delivering cellular
services Specifically, the high operating costs high capital
costs and relatively low capacity utilization characteristic of
prior known systems each impeded the efficiencies neces-
sary to serve these additional market segments As the
market had already demonstrated, the requisite degree of
cost savings was not possible using the prior known methods
of rendering cellular services

The present inventors identified several critical factors in
achieving the cost savings necessary effectively to expand
cellular service to these additional market segments:
improved capacity utilization and reduced peak system
capacity; targeted area coverage; improved capital utiliza-
tion; channels reduced interconnect costs improved back
office operating eiiiciency; and improved network operating
efficiency.

Particularly in view of a number of recent technical
advances capacity is highly dependent on the network
technology employed. Webb, at 101-149, which is incorpo-
rated herein by reference. Several advances in recent years
have enabled operators to enhance capacity from existing
bandwidth and use bandwidth more efficiently, although
other operators preferred legacy technology and the associ-
ated capacities The present inventors believe that CDMA
technology offers certain capacity advantages relative to
rival technologies Specifically, through the use of CDMA
technology, the capacity of the system could be increased by
a factor of two in terms of calls per sector, relative to rival
technical formats Similarly, the data rate can be increased
frorn about 8 k to over 100 k, with projections of up to 2.4
Mega bits per sector. The present inventors anticipate con-
tinued advances in network capacity.

Coverage is one of the primary design criteria for any
cellular network, Prior known networks are designed to
provide extensive coverage for the basic service area, as well
as for the surrounding area and major transportation arteries
Although the cost of this additional coverage is substantial,
revenues from roamers entering the system and using this
extended coverage area typically defray the added cost and
generate substantial additional revenues in prior known
cellular systems The capacity and signal strength are opti-
mized for coverage, and in particular, in-vehicle use. In
addition, the capacity of prior known systems is typically
built out to the peak demand of the system, throughout the
service area. Although this results in higher capital cost, that
capital cost is typically recovered through roaming charges

The present inventors however, have designed the system
coverage based upon extensive market studies identifying
patterns of living, Working, playing, shopping, and school-
ing (“live, work, and play”) of the primary service area. The
system is designed to provide strong signal coverage, tai-
lored to the usage pattern in each cell in the primary service
area. The system of the present invention is preferably
designed for in-building, as opposed to merely in-vehicle

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use. No capacity is built into an extended service area or
arteries System coverage is designed specifically for local
service, vw`thout regard to roaming. Nonet_heless, major
interconnection arteries are covered by the service of the
present invention

This provides two benefits First, the coverage area of the
present invention is typically more limited than coverage of
systems of the type known prior to the present invention
FIGS. 8 and 9 are maps depicting coverage patterns of a
system prior to implementation of a system according to the
present invention and after such implementation, respec-
tively.

Second, rather than building peak system capacity
throughout the coverage area, the present invention tailors
capacity within each cell to expected local traffic patterns
This allows a reduction in system cost. Fewer cells are built
and the capacity of the cells that are built is increased
relative to prior known systems The present inventors
believe that this approach enables the system to achieve
effective coverage for the service area with only about 80%
of the number of cell sites of prior known systems when
sites that are related primarily to highway and roaming
coverage are removed.

Capital utilization is also enhanced by the present inven-
tion as the reduced coverage sites are provided and the cost
of capacity is reduced through the use of CDMA technology.
In a preferred embodiment of the present invention, the
capital expenditure per subscriber is reduced, from 12 to
25% of the capital expenditure per subscriber in year 1
relative to prior known systems to 25 to 50% of the
cumulative capital expenditure per subscriber in year 10,
Moreover, due to the higher capacity utilization of the
present invention, the difference between the present inven-
tion and prior known systems in terms of cumulative capital
expenditure per unit of usage is even more substantial The
present inventors estimate that cumulative capital expendi-
ture per unit of usage (Erlang) in year 1 preferably is only
about 5% to 15% of prior known methods In year 10, it is
as low as one half.

Based upon these factors the break even point for a
network of the present invention is substantially sooner than
for a network of the type known prior to the present
invention In the preferred embodiment of the present
invention, the break even point is 12 months as shown in
FIG. 19. The calculations illustrated in FIG. 19 are based
upon the “Typical PCS Company” model, as disclosed by
the irm Donaldson, Lufkin & ]enrette in THE GLOBAL
WIRELESS CoMMUNIcAnoNs INDUSTRY (1999), which is
incorporated herein by reference. The present invention may
achieve break even at the end of year one, relative to year
three in systems of the type known prior to the present
invention

Channel costs of marketing cellular services comprise one
of the most significant cost elements for a cellular network.
Cellular services of the type known prior to the present
invention are typically highly diversified and segmented,
featuring highly complex pricing plans and usage models
The selling activity requires highly trained customer service
representatives to explain the various phones available, their
features, and the relative benefits and disadvantages of the
various service plans relative to a particular customers usage
pattern All of this adds substantial selling cost to a wireless
operator. The present invention, in contrast, features one or
two phones, a simple plan, and high volume usage. Rather
than selling through specialized channels the present inven-
tion may sell through mass merchandise outlets Advertising
and marketing efforts are oriented to the point-of~sale and

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limit sales personnel involvement Each of these features
further reduces the selling expense associated with the
present invention

Interconnect costs represent a significant cost factor to the
system operator in systems of the type known prior to the
present invention Specifically, when users are charged by
the minute, they tend to leave their phones off When they are
not placing a call in order to avoid receiving charges for
unwanted calls or they avoid giving callers their phone
number. This results in the system operator generating far
more outgoing calls than are received within the system. In
a typical cellular system of the type known prior to the
present invention, the balance between calls generated by
the user and calls received is approximately 75% outgoing;
25% incoming This means that there is a greater chance of
the user making a call to a number outside the service area
than of receiving one from outside the service area. Inter-
connect charges therefore, tend in the direction of the
system operator having to pay to operators of other systems
fees for outward bound calls made from users within the
system.

The present invention, however, seeks to reduce substan-
tially interconnect charges by modifying the user’s calling
patterns As the user enjoys unlimited use, without any
additional charges for that higher use, the user tends to leave
their phone on, even when they are not making a call. The
present inventors have observed that usage patterns tend to
be more balanced, in the range of 60/40 (20 point
difference), in contrast to the 75/25 (50 point difference)
balance observed in prior known systems The present
inventors believe that, over periods of several years usage
would migrate toward a balance of 55/45 or 50/50 in a
preferred embodiment of the present invention At that point,
the interconnect charges will offset one another, eliminating
this cost from the system.

Enhanced network operating efficiencies are another fea-
ture of the present invention providing a benefit relative to
prior known systems These benefits may include: reduced
direct labor costs; reduced lease costs as a result of fewer,
higher capacity cell sites; simplified operations and
improved back office operating efiiciencies.

The present invention allows the operator to reduce the
total number of cells in the system. 'Ihis employs less
expensive capital equipment and improves the efficiency of
maintenance and repair activities as both fewer cell are used
and distance for traveling to the outlying cells that have been
eliminated is reduced. As fewer cells are built into the
system, lease costs are reduced for cell towers and cell sites
The cost of the fixed network and facilities are reduced
relative to systems of the type known prior to the present
invention

The operating model of the present invention is preferably
based upon monthly, bill-in~advance, pay-in-advance
service, which is different then the pay-in-arrears system
generally used for credit-worthy business customers or the
prepaid system typically used for consumers The operator,
therefore, is not dependent on variable usage patterns which
result in fluctuating revenues Revenues are based upon
service and not the specific features employed frorn call to
call. The revenue stream is leveled, offering the operator
greater predictability and certainty.

Back ofiice expenses are reduced dramatically, relative to
prior known systems One of the largest operating cost
elements in prior known systems is customer service to
handle billing inquiries A typical cellular billing statement
itemizes every call and details the various features (roaming,
call waiting, etc.) accessed. This level of detail typically

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generates billing questions and challenges all of which must
be handled in a person-to-person discussion with the cus-
tomer service department The cost of handling this ca11
volume can be one of the largest single cost elements in the
back ofiice operation of a typical prior known system. The
present intention, however, eliminates these expenses
Credit checks are unnecessary. Account receivable balances
are not permitted to accrue. As service is fiat rate and
pre-paid, there are no charges based upon the number of
calls length of calls and features accessed. Itemized billing
statements may be eliminated and replaced by simple flat
rate bills Accounts receivable and collection activities are
eliminated, further simplifying back oliice operations

Further, the present invention substantially reduces
activation-related costs The phones of the present invention
are sold preactivated. Each phone already has loaded into it
a unique cellular number upon leaving the factory. This
reduces the effort required to activate. Rather than supplying
skilled customer service personnel to assist in activation,
activation may be conducted by the customer upon leaving
the store. This Ovcr the Air (Activation) Subscriber Provi-
sioning (OTASP) feature of the present invention substan-
tially reduces operations costs and simplifies the customer’s
role in activating the phone. OTASP results in substantial
cost savings to the system operator.

None of these improvements were obvious at the time the
invention was made. In contrast, the incumbent business
model has been and remains based upon minutes of usage,
the time of day, and features accessed. Absent substantial
elimination of costs from the existing model, the shift to
lower ARPU users is not desired by system operators

By combining these features in various combinations to
expand capacity utilization and reduce systems capital, and
operating costs the advantages of the present invention are
fully achieved.

In his recent book, Webb presents a simple and accessible
primer on wireless communications systems Williarn Webb,
UNDERsrANDrNG CELLULAR RADlo, Artech House, Inc.
(1998), which is incorporated herein by reference Webb
describes a number of generally accepted network design
factors prior to the present invention Webb notes that prior
known systems provided only enough capacity for the
expected number of subscribers if needed, additional capac-
ity would be built into the system at a later date. Webb
confirms that prior to the present invention: “[t]o minimize
system cost and roll-out time, operators need to insure that
they use the fewest number of cells cites possible to provide
the required coverage, The problems would be familiar to
the cellular operators who expend considerable time and
effort planning their networks to use the minimum number
of base stations for the required coverage.” Id. at 95. Webb
further teaches that in cases where there was not suflicient
capacity in the network, “the cells had to be made smaller.”
Id. at 98. Webb amplifies that “microcells are the only way
to improve capacity in city centers.” Id. at 99.

Yet, the present inventors have adopted a different
approach to network design By designing for capacity,
rather than coverage, the present inventors have been able to
further reduce the number of cells without deploying sub-
stantial numbers of microcells. The present inventors have
found that, by aggressively managing the cost of their
wireless communications services and deploying appropri-
ate technology, preferably CDMA technology, they have
been able to increase capacity utilization of the network,
dramatically reduce their operating costs, pass substantial
savings on to the consumer (who enjoys not only greater
access to their wireless communications service, but does so

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at a lower price), and enjoy ample margin to run the business
profitably on a sustaining basis

OBJECTS OF THE INVENTION

It is therefore an object of the present invention to provide
a low cost wireless communications service.

Another object of the present invention is to provide a low
cost wireless communications service that is targeted to
market segmean beyond the traditional heavy and business
users

A further object of the present invention is to provide a
low cost wireless communications service that is attractive
to mass market users

An additional object of the present invention is to provide
a low cost wireless communications service that is based
upon fiat rate pricing.

Yet another object of the present invention is to provide
wireless communications services at a high level of capacity
utilization of the cellular network components relative to
prior known systems and networks

lt is an object of the present invention to provide a high
quality wireless communications service.

Another object of the present invention is to provide a
wireless communications service at a low fiat rate monthly
charge.

A further object of the present invention is to provide a
wireless communications service that enables higher capac-
ity utilization of the wireless network.

An additional object of the present invention is to provide
a wireless communications service in a fashion that reduces
peak capacity utilization relative to prior known networks

Yet another object of the present invention is to provide
wireless communications services that are preactivated.

Another object of the present invention is to provide
wireless communications services while substantially reduc-
ing the customer service requirements of prior known wire-
less networks and systems

lt is an object of the present invention to adapt prior
known wireless communications services to improve capac-
ity utilization of the network or system.

An additional object of the present invention is to reduce
peak calling capacity.

Another object of the present invention is to adapt the
wireless communications services to a targeted coverage
area.

Yet another object of the present invention is to achieve
improved capital utilization from the Wireless communica-
tions network and system.

A further object of the present invention is to broaden the
channels through which wireless communications services
are marketed.

It is another object of the present invention to extend the
channels for marketing wireless communications services to
mass merchandisers.

An additional object of the present invention to reduce
system or network interconnect costs to other system opera-
tors.

Another object of the present invention is to improve back
office efficiency

Yet another object of the present invention is to reduce
back office operating costs

A further object of the present invention is to improve
network operating efficiency

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lt is an object of the present invention to reduce network
operating costs

lt is an object of the present invention to bundle long
distance service with local wireless communications ser-
vices.

Another object of the present invention is to combine free
unlimited long distance service with local wireless commu-
nications services

An additional object of the present invention is to offer a
variety of enhanced features with wireless communication
services

A further object of the present invention is to provide
voice mail.

Yet another object of the present invention is to provide
call Waiting.

lt is an object of the preset invention to provide paging.

Another object of the present invention is to provide data
services

An additional object of the present invention is to provide
Internet services

A further object of the present invention is to provide
tailored information services adapted to the individual user.

Yet another object of the present invention is to model
subscriber behavior and adapt the services delivered to the
user based on heuristic studies of the subscriber’s prefer-
ences and behaviors

It is an object of the present invention to provide position
location information.

Another object of the present invention is to provide
advertising to users or subscribers

An additional object of the present invention is to facili-
tate chommerce.

A further object of the present invention is to safeguard
users’ and subscribers’ privacy.

Additional objects and advantages of the invention are set
forth, in part, in the description which follows and, in part,
will be obvious from the description or may be learned by
practice of the invention. The objects and advantages of the
invention will be realized in detail by means of the instru-
mentalities and combinations particularly pointed out in the
appended claims

BRIEF SUMMARY OF THE INVENTION

As illustrated in the accompanying diagrams and dis-
closed in the accompanying claims the invention is an
improved wireless communications service, business
method, operation method, and network and system for
delivering the same.

ln one embodiment, the present invention is an improved
business method for a wireless communication system,
comprising, either alone or in various combinations the
steps of:

Flat rate billing, not based on individual minutes of use

(MOU) or number of individual calls

Unlimited use, not packaged based on individual minutes

of use or number of individual calls

Providing service where users “live, work, and play”;

Achieving wireline phone functionality, as a replacement

for the standard wire-line phone (>800 MOU/month);

Mapping customer demand geographically, by where

users “live, work, and play” and by demographics of
key market segments

Providing service only in a pre-determined area (no

roaming), along vw`th the potential for exchange ser-
vices with other markets;

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Bill-in-advance;

Pay-in-advance;

No service contract required;

Limited hand set and features

No detailed billing;

Operating expense at or below about 85% of the Hat

monthly fee;

ARPU equal to or below about $40.00 per month; and

Deploying “islands” of service.

In an alternative embodiment, the present invention is an
improved operations and selling method, comprising, either
alone or in various combinations the steps of:

Flat Rate billing;

Bill-in-Advance;

Pay in Advance;

No detail call record;

Service in predetermined calling area, with no roaming;

Pre-paid long distance (“gas tank”);

Simple service offering;

Centralized systems which enable aggressive and effec-

tive cost reduction;

Cost-driven (vs. revenue-driven) operational model;

Reduced churn rate to less than 4% after three months or

more (increased stickiness);

Operating expense per subscriber per month less than or

equal to about $26;
Cash cost per unit less than or equal to about $20;
Acquisition costs per subscriber less than or equal to
about $230;

ARPU less than $40.00 per month;

Margin greater than or equal to about 15%.

Single-rate plan;

Achieving better balance in the mix of incoming and

outgoing calls to reduce interconnect charges

Reducing or eliminating collection and bad debt expense;

Reduced sales cycle time;

Phone-in-a-box, containing all the information you need
on the outside of the package;

Pre-programmed phones;

Limited handset selection;

Single-band phones;

Customer Activation

Wholesale discount only-no commissions or residuals

Limited service features

Familiar features requiring no training;

Inventory kept with distributor;

Phone bundled with service;

Simplifled sales process

Reduced Cost per Gross Add; and

Separate branding of an “all-you-can-eat” service (flat

rate/unlimited service).

ln a preferred embodiment, the present invention is an
improved network and system for delivering wireless com-
munications services comprising, either alone or in various
combinations the steps of:

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Generating Erlangs per subscriber per square mile greater
than or equal to about 0.03 E;

ln building coverage greater than or equal to about 12 db;
Tailoring the network to capacity;

Targeting cell site deployment;

Covered Population per site greater than 4,000;

Second Carrier frequency, upon or within about three

months after launch;

Frame error rate less than about 2%; and

Enhanced capacity network offering unlimited use (>800

minutes per month).

lt will be apparent to persons of ordinary skill in the art
that various modifications and variations any be made to the
business method, operations method, network and/or system
of the present invention, without departing from the scope or
spirit of the invention For example, although service is
preferably unlimited by number of minutes of use or number
of calls, service may also be bundled in predetermined
amounts such as 400, 600, 800, or 1,000 minutes a month,
or any other level of minutes per time period. Margin may
be maintained at any level that supports a sustainable
business

Prior known bundled minute of use service offerings have
ranged up to several hundred dollars a months (ARPU) for
2,000 or 3,000 minutes of use. ARPU values of the present
invention, therefore, may be set at any level sufficient to
distinguish prior service oiferings, for example, at $30, S35,
$40, $45, or $50 per month. Similarly operating expense per
subscriber may be maintained at any sustainable level below
ARPU, such as $26 at an ARPU of $30, or any comparable
level on the cost continuum. Similarly, the time period of the
service offering is not critical and the present inventors
intend to cover offerings at comparable rates (ARPU per
month or minutes of use per month) that may be offered for
shorter (hours, days or Weeks) or longer (multiple month,
quarter, year or longer) periods of time.

Chum may be reduced below levels experienced by
unlimited service offerings such as PHS, at any time after a
subscriber has been added, whether at 3, 4, or 12 months or
at any other time. Acquisition costs per subscriber may be
less than or equal to about $500 or any lower level, such as
$230,

The level of Erlangs per subscriber, per square mile, may
be maintained at any level greater than or equal to about 0.03
E of prior known systems such as 0.04, 0.05, 0.055, or
higher. In-building coverage may be maintained at greater
than or equal to about 12 db, 15 db, or 18 db, or any other
level that distinguishes the in-building coverage of the
present invention from prior known systems Covered Popu-
lation per Site may be greater than or equal to about, 4,000,
6,000, 8,000, 10,000, or any level along a continuum greater
than 4,000. Similarly, the average number of minutes of use
per month may be maintained at any level grater than about
400, such as 600, 800, 1,000, or any other level along that
continuum.

The Frame Error Rate may be relaxed from 1%, to 2%, or
3%, or any other level that continues to provide effective
service. The equipment used is not critical, provided that it
provides the requisite capacity, quality, and reliability. Thus,
it is intended that the present invention cover the modifica-
tions and variations of the invention provided they come
within the scope of the appended claims and their equiva-
lents.

lt is to be understood that both the foregoing general
description and the following detailed description are exem-
plary and explanatory only, and are not restrictive of the

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invention as claimed. The accompanying drawings which
are incorporated herein by reference, and constitute a part of
the specification, illustrate certain embodiments of the
invention, and together with the detailed description, serve
to explain the principles of the present invention,

BRIEF DESCRIPTION OF THE DRAWINGS

FIG. 1 is a schematic diagram showing the relationship of
a cellular network of the type known prior to the present
invention to the public switched telephone network.

FIG. 2 is a schematic diagram showing the interrelation-
ship of the principal components of a cellular system
adapted for voice communications of the type known prior
to the present invention,

FIG. 3 is a schematic diagram showing the interrelation-
ship of the various components of a cellular system adapted
for both voice and data services of the type known prior to
the present invention

FIG. 4 is a graph illustrating a typical demand curve for
a wireless system of the type known prior to the present
invention,

FIG. 5 is a graph illustrating the busy hour utilization of
a wireless system of the type known prior to the present
invention

FIG. 6 is a graph depicting the predicted change in System
RF Blocking Rate upon conversion of a system of the
according to the present invention

FIG. 7 is a graph of estimated demand vs. capacity upon
conversion to a system according to the present invention

FIG. 8 is a map depicting system coverage of a cellular
system prior to implementation of a system according to the
present invention

FIG, 9 is a map depicting system coverage of a cellular
system according to the present invention

FIG. 10a is a graph depicting actual network performance
of both a system known prior to the present invention and a
system according to the present invention with respect to
combined dropped and blocked calls

FIG. 10b is a graph depicting actual network performance
of both a system known prior to the present invention and a
system according to the present invention With respect to
dropped call percentage

FIG. 10c is a graph depicting actual network performance
of both a system known prior to the present invention and a
system according to the present invention with respect to
blocked call percentage

FIG. 11 is a graph of the usage distribution for the teen
segment, as contemplated by the present inventors

FlG. 12 is a graph of the usage distribution for the college
student segment, as contemplated by the present inventors

FIG. 13 is a graph of the usage distribution for the
secondary income spouse segment, as contemplated by the
present inventors

FIG. 14 is a graph of the usage distribution for the new
wage earner segment, as contemplated by the present inven-
tors.

FIG. 15 is a graph of the usage distribution for the blue
collar segment, as contemplated by the present inventors

FIG. 16 is a graph of the usage distribution for all other
users as contemplated by the present inventors

FIG. 17 is a graph of the usage distribution for all users
comparing predicted data with the actual data,

FIG. 18 is a slide illustrating the break even point for an
implementation of a system according to the present inven-
tion

 

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FIG. 19 is a Table comparing the expected relative Capital
Utilization requirements between GSM and CDMA systems
of the types known prior to the present invention and the
present invention

FIG. 20a is a chart illustrating the re-engineering of the
cost structure of a wireless system according to the present
invention,

FIG. 20b is a chart illustrating the re-engineering of the
cost structure of a wireless system according to the present
invention

FIG. 21 is a ilowchart depicting the process ilow through
the back oftice of a preferred embodiment of the present
invention

FIG. 22 is a ilowchart depicting the process of set up and
activation of a preferred embodiment of the present inven-
tion

FIG. 23 depicts a process for adjusting the tinancial
aspects of an account, for a preferred embodiment of the
present invention

FIG. 24 is a ilowchart depicting how to add a phone to an
account in a preferred embodiment of the present invention

FIG. 25 is a ilowchart depicting how to change general
information on an existing account in a preferred embodi-
ment of the present invention

FlG. 26 is a llowchart depicting a process for changing a
phone number and adjusting acceptance of optional features
in a preferred embodiment of the present invention

FlG. 27 is a llowchart depicting a process for changing
credit card information in a preferred embodiment of the
present invention

FIG. 28 is a llowchart depicting a process for changing
recurring credit card payment information in a preferred
embodiment of the present invention

FIG. 29 is a flowchart depicting a process for transferring
a phone in a preferred embodiment of the present invention

FlG. 30 is a Howchart depicting a process of “hotlining”
and the process of restoring hotlined service in a preferred
embodiment of the present invention

FIG. 31 is a Howchart depicting a process for removing a
phone from a multi-phone account in a preferred embodi-
ment of the present invention

FIG. 32 is a ilowchart depicting a process for disconnect-
ing a phone in a preferred embodiment of the present
invention

FIG. 33 is a flowchart depicting a process for dealing with
frequently asked questions in a call center of a preferred
embodiment of the present invention

FIG. 34 is a ilowchart depicting the steps involved in
handling billing questions in a preferred embodiment of the
present invention

DETAILED DESCRIPTlON OF 'IHE
PREFERRED EMBODIMENTS

Reference will now be made in detail to a preferred
embodiment of the improved business method of the present
invention, an example of which is illustrated in the accom-
panying drawings First, the basic concept of the service
offering of the present invention will be discussed in broad,
fimctional terms Next, examples will be given of the
operation of the invention with respect to various
embodiments namely: a business method, the operations
method, and the network and system of the present
invention, identifying preferred elements of each embodi-
ment, Additional detail will be provided with respect to the

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operations method of the present invention with particular
attention to a preferred embodiment of the customer service
functions of the back ofr`ice. Third, the conversion of a
system of the type known prior to the present invention to
incorporate features of the present invention will be dis-
cussed.

Basic Concept of the Service Offering

The present invention comprises a realigned service oifer-
ing for vw'reless communications services One objective of
the present invention is to develop a high-value, hxed-price,
wireless communication service offering that features high
voice quality, is directed to the mass market, and succeeds
in realigning the service oifering to the lowest cost position
Specilically, the present inventors have developed a new
business model that is targeted at achieving high subscriber
penetration, namely greater than 10 or 20 million nation-
wide. This level of penetration however, cannot readily be
achieved by focusing only on high-end business users

One component of the present invention, therefore, is to
develop an “every day” wireless focus by attracting a mass
market subscriber base. The business method of the present
invention relies upon the unique combination of technology,
operations and network engineering to achieve the objects
of the invention In a preferred embodiment, the invention
employs CDMAone technology in an optimal manner, to
gain maximum competitive advantage from the technical
features and advantages that CDMA olfers. CDMA technol-
ogy greatly enhances the capacity of the network. By
providing a ilat rate unlimited access oifering, the present
inventors are able to exploit the inherent technical advan-
tages of CDMA to achieve higher capacity utilization than
was typical of systems of the type known prior to the present
invention This provides a vehicle for wireless mass com-
munication.

The networks of the present invention may be deployed as
“islands”_isolated from sister systems by a geographic area
where service is not available. The “islands” of the present
invention may be determined based upon market studies By
deploying the network on an “island” basis the present
inventors are able to exploit the latest developments of the
technology, building an incremental installed base in each
new service area in which they offer their services This
allows the present inventors to capitalize on future technical
gains on a local, regional, and/or national basis and to
improve isolated islands without widespread disruption of a
larger network.

The present inventors anticipate that the business method,
operations method, and network of the present invention
will evolve as their service offering matures. Initially, local
and toll calling, voice mail, and long distance service (to be
provided by others) are offered in a local metropolitan area.
Additional features may be provided, such as call waiting,
call forwarding, call barring, and call conferencing. ln
addition, data products may be available in the form of:
information sports stocks, Weather, and any other informa-
tion of interest. This could be based on lntemet-provided
content or content from any other source that is housed on
or linked into the wireless communication network. Adver-
tising feeds could be supplied over Short Message Service
(SMS) or other methods

ln the next phase of evolution of the invention, the present
inventors anticipate internalizing long distance service
within the product offering and providing a unified message
product on a regional basis One of the features that enables
the present inventors to hold costs down is the lack of

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“roaming.” Nonetheless exchange services could be offered
between networks of the present invention on a regional or
national basis

As was the case with the initial stage, call waiting, call

forwarding, call barring, and call conferencing may all be
offered at this stage. ln addition to basic data information
(information, stocks sports weather, etc.), the present
inventors anticipate that enhanced information download
services would be provided at this next stage. In addition to
providing advertising feeds over Short Message Service
(SMS), advertising feeds could be provided over voice, or
alternative technologies ln addition, greater customization
could be built into the subscriber unit, providing the cus-
tomer additional options

The present inventors anticipate that in the third stage of

evolution of the invention, long distance service would be
provided over lP protocols, across the footprint of those
networks deploying the invention This could occur on a
national basis All of the call waiting, call forwarding, call
barring, call conferencing, as well as additional features may
be included. Further, mobile data product oiferings may be
developed to enhance the information download service and
basic information services Advertising may continue to be
provided, as appropriate ln addition, as the path of evolution
progresses the present inventors anticipate handset
exchanges and upgrade programs would be implemented in
order to allow consumers to continue to exploit the most
advanced technology and service offering

'l`he realigned service offering of the present invention

features a number of discrete components that enhance its
attractiveness to the customer and its effectiveness as a
network, as a method of operation, and as a business model.
These include, without limitation:

Designing the network for capacity, rather than merely
geographic coverage.

Providing coverage primarily in the areas where the users
substantially live, work, play, shop, go to school, and
undertake most of their day-to-day activities and prin-
cipal small corridors between them.

Achieving eflicient capital utilization of the network,

Pursuing an enhanced channel strategy in order to reduce
the cost of selling and delivering the services to the
lowest reasonable point.

Managing variable interconnect costs to eliminate the net
outilow of interconnect charges that might otherwise
occur.

lmproving back ohice operating efficiency.

Enhancing network operating eiliciency.

lncreased capacity is an important function of many of the

embodiments of the present invention Table 4 provides
some approximations of the capacity, in terms of simulta-
neous calls per sector/carrier for various telephony applica-
tions

TABLE 4

 

Sim\lltaoeous Calls Per Sector Carrier Capaeity By Application

Application Present F\iture

 

Mobile 15 18
Mixed 19-20 23-24
Fixed 24 28
Present Invention 19 19-28

 

As can be seen from Table 4, the present invention provides
in the setting of a wireless communication network some of

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the capacity advantages that are available today only
through a wireline or Wireless Local Loop (WILL) tele-
phony system and would be available to other wireless
carriers only at some date in the future.

The present inventors believe that the use of the CDMA
air interface provides distinct advantages in achieving the
preferred capacities of the present invention, The air inter-
face has evolved from the IS-95A Standard (19 calls per
sector) in 1998 to the lS-95B Standard (22 calls per sector)
to the current lS-95C Standard (39 calls per sector). Present
inventors anticipate further evolution of the IS Standard to
implement additional improvements All of these standards
are backward compatible ln addition, while the data rate
available under IS-95A was only 8K, IS-95B offered
64-115K. ls anticipated further improvements will otl`er
substantially higher rates

ln order to optimize the coverage of the network of the
present invention, the design objective in a preferred
embodiments of the present invention is to cover a greater
metropolitan area with a strong signal and provide a capacity
advantage over systems to the type known prior to the
present invention The signal is designed to achieve effective
levels of in-building coverage, rather than in-vehicle cov-
erage typical of prior known systems The coverage objec-
tive is to cover substantially those areas where the lifestyle
of the user leads them to work, live, play, shop, or attend
school. This is in distinct contrast to systems to the type
known prior to the present invention, in which the system
was designed for geographic coverage to enhance service to
mobile users who travel through the area. Nonetheless, the
present invention also covers in preferred embodiments the
major interconnection arteries within the geographic area.

In a preferred embodiment of the present invention, this
results in fewer cell sites being required to provide the
requisite level of service. For example, the present inventors
anticipate that for an example market, such as the San Diego
market, substantial reductions in the number of cells could
be achieved, while also achieving the goals of the present
invention Table 5 summarizes this eifect:

TABLE 5

 

San Diego Marketplace

 

The Present
Air Touch Sprint PBMS Invention
Anticipated 181 c 190 c. 280 155
Number of
Cells

 

As a result of the business method, operational methods
and network of the present invention, the present inventors
anticipate that overall capital expenditures both on a per
subscriber and on a per Erlang basis can be reduced
dramatically FIG. 19 provides information regarding the
anticipated capital expenditure per subscriber. (All dollar
values used in this application are in approximately 2000
dollars The present inventors expressly intended that these
values would be adjusted by the user to accommodate
changes in the time value of these amounts and/or improve-
ments in technology that may alter the relative values of
various elements of the present invention.)

As can be seen from FIG. 19, capital expenditure is high
in the early years and falls off as each of the systems mature.
The height of the initial peak for systems such as the Power
Tel (GSM) and Sprint (CDMA) systems depicted in FIG. 19
are higher in the earlier years than that of the present
invention The commutative capital expenditure per sub-

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scriber for each system is anticipated to be lower in the
succeeding years as the systems mature. Yet, the present
invention retains a distinct advantage. The same pattern
appears with respect to Capital Expenditure per Erlang. The
Power Tel and Sprint systems are substantially higher in
early years from system launch than is the present invention
Similarly, the present invention may be able to secure
savings of up to two thirds in later years relative to the
commutative Capital Expenditure per Erlang of these prior
known systems

Channel costs are reduced in a preferred embodiment of
the present invention in a number of Ways. The product
offering is preferably simple, namely, one phone featuring a
limited number of rate plans Sales are preferably oriented to
mass merchandising and mass retail outlets rather than
dedicated specialty stores that require higher investment in
real estate and operating expense. Advertising is directed at
mass channels Similarly, marketing efforts are directed in
areas where trailic generation is high, such as mass mer-
chandising retailers Limiting the involvement of sales per-
sonnel substantially reduces selling expenses By packaging
the “phone-in-a-box” with all of the material marketing
information contained on the outside of the packaging, most
of the consumers’ questions can be answered by a review of
the product offering The first month’s service is preferably
included. No extensive and lengthy explanations are
required by a specialty sales force, further reducing selling
expense.

ln contrast, most operators of wireless communications
systems of the type known prior to the present invention
oifer the consumer a bewildering array of options which
also serves to increase the operator’s direct selling expense.
For example, Cingular Wireless formerly Bell South, oilers
several series of wireless calling plans at the “home,”
“region,” and “nation” level. At the time of filing of this
application for example, Cingular offered nine different
home calling plans six diHerent region calling plans and six
different nation calling plans Each has different monthly
costs numbers of included minutes per month, costs of
additional units per month, and included features Similarly,
AllTell Cellular offers three local plans five regional plans
and six national plans all of which have different pricing,
features, and number of included minutes per month. AT&T
and Sprint offer comparable levels of diversity. Even
Nextel.com, a service provider that presents itself as offering
progressive plans including an unlimited service plan for
about $99 per month, a price point substantially higher than
that of the present invention, offers a wide array of plans For
example, Nextel’s oifering includes digital cellular service
(locally, national, and worldwide), a digital radio, business
network, business directories messaging services online
wireless worldwide service, and additional service features
such as: one second rounding, caller lD, call waiting, call
forwarding, voice mail, no roaming, additional lines three-
way calling, and call restriction At each of its levels of rate
plan, Nextel offers several options with different pricing,
numbers of included minutes and features ln addition,
virtually all of these cellular operators offer an array of
handsets, featuring numerous features and options

The net result of the diversity of handsets, rate plans and
service offerings is not only consumer confusion and
bewilderrnent, maintaining this array of options increases
the operators’ direct selling expense. lt requires the operator
to maintain a highly trained workforce at the point of sale,
in order to answer and resolve the consumer’s questions lt
requires substantial inventory. The present invention avoids
this complexity and its attendant eEect to complicate the
sales process and increase direct, as well as indirect, selling
expenses

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The present inventors anticipate that better balance can be
achieved by the present invention on inter-connect costs
than was available through systems of the type known prior
to the present invention The present inventors further
believe that their fiat rate pricing encourages balance by
eliminating minute of use-based pricing. Specifically, the
present invention may allow the inter-connection cost bal-
ance to migrate from approximately 65/35 to 65/45 or a
number closer to 50/50 over a period of years Although the
present inventors initially anticipated that this process may
take about 4 years the present invention has achieved
unexpected results in which a 53/47 inter-connect balance
has been achieved within approximately a year and a half.

The present invention also obtains numerous network
operating eliiciencies. ln a preferred embodiment of the
present invention, direct labor cost is reduced. This is in
part, a result of deploying fewer cells larger cells and using
less equipment. Similarly, lease costs are reduced. This is a
result of the reduction of the number of cell sites and towers
as well as a reduction of the level of investment required for
fixed network and facilities The simpler operating model of
the present invention, relative to prior known systems is
enhanced by the use of larger cells flat monthly rate
structures versus minutes of use revenue-based structures
and basic services versus fe ature-driven pricing. Back office
operating efliciencies are enhanced and cost reduced due to
simplified prepaid product oifering.

Components of the Business Model; Operations;
and Network and Systems Embodiment

The present invention comprises various embodiments
that may be used separately, or in combination with one or
both other embodiments Viewed generally, the embodi-
ments of the present invention are as: a business model;
operations and network and system. ln turn, those embodi-
ments each comprise one or more functional elements
These elements may be used separately, or in combination
with one another, or elements of one type of embodiment
may be used in combination with elements of the others

The business method embodiments of the present inven-
tion comprise innovations in one or more of the following
areas: business method; economic model implementing that
method; capital utilization; “all-you-can-eat” pricing model;
capacity driven service; “wireline” design for capacity rather
than coverage; based upon where people live, work, and
play; and various operational features and functions

The operational embodiments of the present invention
comprise one or more of the following features marketing;
brand strategies and implementation; selling channels sizes
contigurations, and locations for selling; product design and
selection; phone selection; phone activation; appropriate
staffing in each functional area and balance between each
functional area in order to achieve the cost advantage of
certain embodiments of the invention; driving substantial
cost components out of, or at least down relative to prior
known cellular systems; financial modeling; back office
operations billing; financial models call center; customer
service; maintenance; and Network Operations Center
(“NOC”).

The network and systems embodiments of the present
invention comprise: network design; equipment; systems;
trailic modeling; growth; deployment; systems integration;
maintenance; and financial modeling.

Turning now to each of these basic embodiments it will
be apparent to persons of ordinary skill in the art that each
of such embodiments may in turn be embodied in various

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ways The assignee of the present inventors has embodied
various aspects of the present invention in a service offering
in the Chattanooga, Tenn market, that is sold under the
“CRICK_ET” brand. The business method, operations and
network and systems of the present invention have been
referred to by the present inventors as the “Cricket Model.”

The business method of the “Cricket Model” features any
one or more of the following improvements simplified back
oiiice; network design for in-building coverage; lower mar-
keting costs and fiat-rate fee for service. The Cricket Model
offers “wire line” type service on a cellular network, namely,
it provides service where people “live, work, and play.” The
system is designed for “capacity” rather than “coverage.”
This business model, however, is very different in many
respects from the model for cellular systems of the type
known prior to the present invention Consequently, the
Cricket Model was received skeptically by persons skilled in
the wireless industry, who were experienced with more
traditional cellular models

The operations of the present invention differ in any one
or more of a numerous respects from the operations of
cellular systems of the type known prior to the present
invention These operational features have been referred to
by the assignee of the present invention as the “Cricket
Dilferentiators”. These include, but are not limited to: call
center; customer operations internal infrastructure; long
distance; voice over lP; billing; trouble ticketing; and Net-
work Operations Center (NOC).

The operations of the present invention involve a number
of improvements relative to prior known cellular systems
The billing system is modified and improved. The format,
customer service screens and interfaces, and return and
repair functions are improved. Simplified “one-line billing”
is preferred. The billing is based upon a flat rate for cellular
service. Preferably, that rate is low enough to attract addi-
tional users who are eliminated by traditional metered
billing formats based upon minute of use charges Payment
is requested in advance, eliminating or substantially reduc-
ing accounts receivable. Service is terminated for non-
payment, eliminating or reducing collections operations

The present inventors anticipate serving market segments
that operators of wireless communication systems the type
known prior to the present invention have either failed to
serve, or in which they have shown limited or no interest. ln
particular, individuals residing in households with incomes
less than approximately $75,000 per year, generally have not
been a target of marketing efforts by prior known cellular
system operators This is primarily because the targets of
those systems have been business and heavy users who are
relatively insensitive to price, lndividuals who do not have
credit or whose credit is challenged are also not well served
by systems of the type known prior to the present invention
Many system operators require credit checks as well as
execution of a formal cellular services contract with con-
sumers Credit checks alone may eliminate 30 to 60% of
potential customers

The present inventors have identified a number of demo-
graphic segments that they believe have been under served
or not been the subject of significant interest by operators of
prior wireless communication systems These include, with-
out limitation New wage earners (age 25 to 35); Blue-collar
workers Secondary income spouses College students and
Teenagers The present inventors have developed demo-
graphic profiles of each of these key market segments and
have found certain features that tend to characterize these
various segments New wage earners are likely to move

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residences frequently, They likely spend discretionary time
outside of their primary residence. They focus on conve-
nience and usage. In addition, the present invention may
readily become their primary phone.

Blue-collar workers tend to have a more stable residence.
The present invention allows easy and convenient outbound
communications Business usage tends to be limited in this
segment and usage instead tends to focus on friends and
family. The present inventors anticipate that, in this market
segment, the present invention will evolve to become the
primary phone in approximately 18 to 24 months of usage.

Seconde income spouses also tend to have stable resi-
dences Nonetheless, they tend to be very mobile within a
local area, particularly with their children They are looking
for affordable convenience Although they may expect lim-
ited usage of the phone, they tend to evolve into a pattern of
primary usage of the wireless phone of the present invention
in a period of 24 to 36 months

College students tend to move their residence frequently,
and are unlikely to be in any one place for an extended
period of time. 'I'his market segment was generally over-
looked by operators of conventional systems prior to the
present invention due to the high churn rate at the end of
semesters. This group tends to use wireless communication
services for convenience and tends to use the phone heavily.
lt quickly becomes their primary phone.

Teenagers also tend to exhibit a stable pattern of residence
but are looking for ways to assert their independence The
present invention provides convenience and privacy and
quickly becomes their primary phone.

Some of the features of traditional wireless communica-
tion systems are particularly ill-suited for these market
segments For example, traditional operators tend to require
extended (for example, one year) contracts Credit checks
may prove problematic for certain individuals The present
invention, eliminates these disadvantages As a result of the
realigned service offering of the present invention, neither
pre-subscription contracts nor credit checks are necessary.
Although they could be employed, they tend to increase
costs and limit the demographic segment to whom the
services may be extended.

In the present invention, training procedures are modified
and implemented ln addition, improvements are imple-
mented to bring cost per gross add down to preferred levels
The sales strategy approaches high volume, low value
channels that were typically shunned by conventional cel-
lular operators Indirect selling is implemented

ln a preferred embodiment of the present invention,
company stores are modified and adopt a unique look and
feel as well as format and style. Indirect costs are managed,
in order to drive the cost of selling to the lowest possible
level. Mass merchandising channels may be used. ln
addition, the offering of products (phones) service packages
accessories and functions is curtailed to simplify the offer-
ing and reduce costs The processes and procedures
employed in selling are modified to reduce the cost to
convert a new customer to the service of the present inven-
tion

Customer service is improved to lower acquisition cost.
Over-the-air activation is implemented to enable mass mer-
chandising channels and reduce or eliminate activation
costs ln order to overcome the substantial biases of the
industry toward the prior lmown models and methods the
present inventors implemented orientation, training, and
educational materials and programs Oflice space costs were
reduced in view of the favorable cost structure the invention
offers

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The assignee of the present inventors has also included
long distance service within the present invention. The long
distance service of the present invention is preferably pre-
paid. The assignee of the present invention accepts payment
by credit card and cash, and envisions that various alterna-
tive payment plans may be included within the present
invention, including, without limitation: monthly billing;
automatic debiting of credit cards over-the-air purchase
authorization and payment; and any other appropriate billing
and payment mechanism. Long distance traffic is routed
from the user’s phone, to the switch of the present invention,
to a dedicated long distance service box, the balance in the
user’s pre-paid account (“gas tank”) is then checked and, if
the user’s balance is adequate, the call is routed through a
long distance service provider.

Some preferred embodiments of the present invention
include an internal network to facilitate the operational
improvements of the present invention at reduced cost.
These may include: billing; hot lines call center; trouble
ticketing; NOC; and engineering. The internal network of
the present invention offers substantial advantages lt is
preferably a “voice over IP” network, lt operates as a Frame
Relay network. Market hubs are connected to regional
offices which are in turn connected to assignee’s operation
center in San Diego. This internal network provides data and
operational support, as well as Voice over IP service, within
assignee’s operations The present inventors anticipate that
this internal network could also carry local or long distance
traHic relating to the “Cricket” business model, operations
and network and system of the present invention.

The network and systems of the present invention are
adapted to provide capacity to service users where they live,
work, and play, rather than coverage of a geographic area, as
in prior known cellular systems These features are depicted
in the maps as shown in FIGS. 8 and 9. To accomplish this
coverage pattern, the footprint of the system is modified
relative to prior known cellular systems Specifically, the
coverage footprint of the present intention is a function of
density, competition, and locations and attractions where
those users live, work and play within the service area. The
system design Was adapted to provide high capacity in those
areas at the expense of low usage portions of prior known
cellular networks where capacity may have been maintained
for roaming use. This can be seen by comparing FIG. 8
(pre-cut coverage) with FIG. 9 (post-cut coverage).
Although various of the embodiments of the present inven-
tion could offer roaming, it is not a critical or essential
element of the present invention and is eliminated from
preferred embodiments

The “capacity” vs “coverage” feature of the present
invention is implemented through various design criteria:
adding cells in downtown areas; rework of network design
to focus on traHic patterns modification of the equipment;
modifying the geographic extent of coverage; and altering
the amount Of traHic various cells are carrying in the system.
In order to implement some of these improvements some
users phones were changed out to enable the system to
enhance capacity.

The network modifications of the present invention, rela-
tive to prior known inventions include a number of modi-
fications to improve capacity. For example, the “in-building”
coverage of the network is improved, relative to “in-vehicle”
bias of most prior known systems The present invention
pays particular attention to improving capacity at malls,
buildings intersections and other locations where people
live, work, and play, Cell sites and their placement are
improved, The system is tailored to “capacity,” rather than

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“coverage" based upon load analyses switch statistics and
other functional aspects of the system. These improvements
were arrived at empirically and through the use of various
modeling techniques that are unique to the present inven-
tion.

The specific improvements comprise various stages and
types The inventors implemented Enhanced Variable Rate
Code (EVRC) technology. According to the present
invention, high usage subscribers are offered improved
equipment to enable the network to exploit these capacity
improvements The present inventors have selected Lucent
equipment for various reasons including reliability, and
capabilities of that equipment, relative to other network
components The inventors have added a second carrier
signal and anticipate adding additional carriers as the need
for additional capacity grows

When the present inventors deployed the “Cricket” busi-
ness model in the Chattanooga, Tenn. market, they took over
from the prior system operator, ChaseTel. That system
incorporated a traditional design of the type that was known
in the art prior to the present invention. The “Cricket”
business model, however, requires increased capacity to
handle a higher anticipated number of users and higher
levels of use than anticipated by prior known metered-use
based systems The present inventors therefore, found the
existing business model, operation, and network and system
of the ChaseTel system to be poorly adapted to the present
invention.

Some of these shortcomings exhibited as a high rate of
dropped and blocked calls as shown in FIGS. 10a-c. These
failures resulted because the prior system was not adapted to
optimal placement and sizing of cell sites inadequate
capacity, and an existing design bias toward coverage and
in-vehicle use, in contrast to capacity and in-building use.
This resulted in substantial over-subscription of the switch
and high blocking levels

The present inventors implemented various modifications
to adapt the existing Chase network to the “Cricket” busi-
ness model, operations and network and system. Ericsson’s
proprietary “Smart Rate” III service version of EVRC was
instituted, increasing capacity modestly. The present inven-
tors subsequently implemented Erickson’s “Smart Rate” IV
service which provided additional capacity improvements
The Frame Error Rate was relaxed. Traditional operators
maintain a Frame Error Rate at about 1 percent. The present
inventors believe that the Frame Error Rate may be relaxed
to about 2 percent (or potentially 3%), increasing systems
capacity, without significant degradation of signal quality
and quality of service.

The present inventors modeled the behavior of the net-
work and modified the size and location of cells The present
invention employs various modifications and variations in
the design of the service area to improve the capacity of the
wireless services oifered. Specifically, new sites were
denned, some sites were moved or modified, sites were
removed from service, and new sites were added, The
present inventors also replaced equipment to add an addi-
tional carrier and anticipate that further additional carriers
may be added as capacity demand grows

The improvements of the present invention enable the
wireless network to achieve increased capacity utilization
The present invention tends to increase substantially indi-
vidual user call volume. By eliminating the increased cost of
additional calls and service at particular times of day, users
tend to use their phone more and at more varied times
throughout the day. This increase in overall call volume

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enables the network and systems components to be utilized
more fully, throughout a greater proportion of the day,
resulting in increased capacity utilization

Although user demand is increased in the present
invention, that demand is spread more evenly throughout the
day, reducing the peak calling capacity of the system relative
to prior known wireless communications networks and
systems As peak demand is reduced, so too are the capital
and operational constraints in meeting the former peak
demand.

'Ihe present invention targets the coverage area to a more
limited geographic area. Rather than emphasizing coverage
throughout as wide an area as possible, the present invention
emphasizes capacity to handle the demands of the local area.
In a preferred embodiment, the present invention is adapted
to a local calling area, based generally on the Rand McNally
Trade Area (RMA), rather than seeking extensive coverage
of the surrounding area. This more limited coverage reduces
the number of cell sites and reduces the capacity of the fewer
remaining cells to levels needed to service the local traffic
demand, rather than building in substantial overcapacity to
handle roaming.

These improvements individually and collectively,
enable the business method of the present invention to
achieve higher capital utilization Cells are not built in
anticipation of demand and are instead adapted to demand as
it develops Building fewer cells reduces capital demands
Higher capacity utilization enables the capital that is
expended to be employed more efficiently

Cellular services have traditionally been sold through
various relatively high cost channels prior to the present
invention Specifically, large advertising campaigns are met
on the customer end by specialized equipment and service
offerings The present invention adapts the services to the
most popular types of cellular phones and reduces the
variety of service offerings The need for specialized selling
is eliminated Simplified in this manner, the services of the
present invention may be sold through mass merchandising
channels that have not been exploited by prior known
wireless offerings

Interconnection is roughly balanced in the present system
by shifting the balance of call volume from outgoing calls to
other operators to a more even balance between called made
and calls received outside the system. This is accomplished
by the pricing structure of the present invention, which
eliminates or at least reduces the disincentives of prior
known systems to leaving the phone on so that it can receive
unexpected calls

”lhe present invention improves back of[ice efficiency
dramatically By simplif)n'ng billing and instead issuing a
single fiat rate bill, the costs of billing are reduced from prior
known Systems in which complex, detailed bills are ren-
dered. Accounts receivable are eliminated in certain embodi-
ments in which the services are pre-paid. Moreover, cus-
tomer service costs are dramatically reduced by eliminating
detailed billing, and the numerous questions and complaints
that follow from message unit pricing.

Finally, the network and system of the present invention
improve System network operating efficiency The present
invention combines any of a number of improvements to
enhance the pool of available customers while driving costs
from the systems improved capacity utilization; reduced
peak system capacity; targeted area coverage; coverage
generally based upon Rand McNally Trade Area (RMA);
improved capital utilization; channels mass merchandising
and simplified direct sales reduced interconnect costs

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reduced back office operating efficiency; and improved
network operating ef|:iciency.

Several of the figures provided depict the improvement in
performance of the present invention FIG. 6 depicts the
predicted change in System RF Blocking Rate upon con-
version of a system of the according to the present invention
FIG. 7 estimates demand vs capacity upon conversion to a
system according to the present invention FIG. 1011 depicts
actual network performance (in terms of dropped and
blocked calls) of both a system known prior to the present
invention and a system according to the present invention
FIG. 10b depicts actual network performance (in terms of
dropped and blocked calls) of both a system known prior to
the present invention and a system according to the present
invention FIG. 10c depicts actual network performance of
both a system known prior to the present invention and a
system according to the present invention with respect to
blocked call percentage

In general, the present inventors anticipate that at no time
during any 24-h0ur period Will the system of the present
invention be unused. Each user segment is expected to use
at least % minute of service during any given hour. Busy
hour usage was spread only between the hours of 6 AM and
10 PM. Usage patterns from 11 PM to 5 AM are expected to
be lower. Table 6, below, illustrates the population by user
segment, as contemplated by the present inventors for a
typical installation

TABLE 6

 

Populatian by User SeLent

 

Segment Number Percentage Breakdown

Teens 23,601 4 30% Ages 15-17

College Students 30,724 5.60% Ages 18-21

Spouse 65,086 11.85% l/2 of Married People
>35 yrs. Old

New Wage Earner 92,890 16.92% Ages 22-34

Blue Collar 96,450 17.57% Ages 35-64 with
House Hold income
<$75 K

Other 240,291 43.77% Ages 0-14 (108,697)

Retired §65 (77,997)
Ages 35-64 with
income §$75 K
(23,452)

Ages 35-64 with
roommate (30,145)

 

 

Total 549,042 100.00%

 

FIG. 11 illustrates the usage of the teen segment In the
teen segment, the inventors contemplate that the primary use
is after school and into the later parts of the evening. When
teens get on the phone, they will stay on it for extended
periods of time. They will use their phones in the morning
to arrange rides to school, during the day in general, and
during lunch times As illustrated in FIG. 11, the peak usage
is between approximately 3 pm and 5 pm.

FIG. 12 illustrates the usage of the college student seg-
ment. The users in this segment tend to awake later in the
morning than other users and typically stay up later at night
than other segments Accordingly, their phone use reflects
this pattern Typically, these users will use their phone
during the later periods of the day and scattered throughout
the day depending on an ever changing schedules As
illustrated in FIG. 12, the peak usage is between approxi-
mately 4 pm and 8 pm.

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FlG. 13 illustrates the usage of the segment represented
by secondary income spouses The primary usage in this
segment occurs while children are in school between the
hours of 8 AM and 2 PM, when users talk to friends and run

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Cricket system achieved a 7.7 percent market penetration in
12 months of operation of the Chattanooga market. The
costs were less than S230.00 per customer. The support costs
per average subscriber were approximately $5.60 and the

errands The users in this segment will also have sporadic 5 Operations costs per minutes Of use Was 1 3 cents These
usage in the evenings to communicate with other working . . ' `

family members and friends As illustrated lrr FlG. 13, the “"S‘?“S ampth the S“.bs“m.lal and ““eXP°°ted “."S“lts
peak usage is between 4 pm and 8 Pm. achieved by the present invention On each of these criteria,

HG. 14 illustrates the usage Of the Segmem represented the performance of the present invention, both on a market
by new wage earners_ This group is typically comprised Of 10 penetration basis and a cost reduction basis far out strips the
young professionals These users do not hesitate to use the Perf°rmance. Of Systems Of th§ tyP°_kn°Wn by the Present
of§ce phone during the day, but will use their wireless mvemor$ PrlOl' 10 the Present mvemlon~
phones On the Way to Work’ during the lunch period and Part of the reason for the unexpected and substantial
di.rectly afte.r Work to .stay in czmact With a largt.: group of success of the present invention is that it meets a long felt
§n;;d:'n/§S§lll):trated m FIG' 1 ’ the peak usage 15 between 15 and unmet need of the market for wireless communication

FlG. 15 illustrates the usage of the segment represented :er;;ces' Whl:e»operatiors if Systfems O§the-type~§mown p~nor
by blue collar workers This segment will use their phones .0 e.Iires;n .mven lo:h ave Ocusel anan y On pnce-
on their way to and from work, during the noon period and msensmve usmess an .eavy users’ arg.e S?gmems.°f the
in the early evening. They will not hesitate to use the office 20 market who Wol_lld use erele,Ss commumcauon sen/lees at
phone, if available, during Working h Our S' As illustrated in a lower price point have been ignored or under-.served. Most
FIG. 15, the Peak usage is between 3 pm and 8 pm. of this under served segment readily uses wlrelme telephony

FIG. 16 illustrates the usage of the segment that can best cf the type Oifered by the, incumbent Local Exchal,]ge
be described as nother`r, This Segmem is comprised Of a mix Carriers (ILEC) and Competitive Local Exchangc Carriers
of people. Their usage is spread across the day with heavier 25 (CLEC) The_PHCC Pomt’ however’ for these types (')f S°r`
usage during the noon and evening hours> vices is traditionally much lower than that of wireless

FIG. 17 is a graph of the usage distribution for all users commuu,]cauop Sem°es Of the type known pn°r to the
comparing the modified model with the actual data. Present mveml°n‘

FlG. 18 iS a Cha.rt illustrating the unechcted SuCCeSS Of Table 7 i]]ug[rates a Comparison of the pricing and Ser-
the present invention FIG. 18 illustrates Some Of the Sub- 30 vices and depict Some of the reasons Why the present
stantial advantages of a preferred embodiment of the present inventors believe their business method, operations method,
invention over systems of the type known prior to the and network have been so successful FIG. 7 compares the
present invention When the Chattanooga system was Serviccs, typical minutes of use per month, and average
deployed as a Cricket system in early 1999, it included very revenue per user of various types of telephony systems
few improvements and enhancements of the present inven- 35 namely, Cellular, PCS, the present invention, and traditional
tion. During the course of the first year of deploymenl, fixed wireline service available through ILEC’s and
numerous improvements and enhancements were made to CLEC’S, This comparison reveals that, on these criteria, the
implement the present invention in the Chattanooga market, present invention approximates the level of service available
Speciflcally, numerous additions to the operational features from traditional wireline service at a cost that approximates
Wel'e added during mid' 10 13te'1999, and the D€tWOfk 40 traditional wireline service, while offering many of the same

components were cut over to a network operating system of
the present invention at the end of January 2000.

ln spite of the fact that many of these features were
present for only a portion of the first year of operation, the

features of other wireless communications networks The
present inventors believe that these features explain, at least
in part, the long felt need, and substantial and unexpected
success of the present invention in the market place.

TABLE 7

 

Product Comparison

 

Pricing
Product Service MOUs ARPU
Cellular Wide footprint with feature-rich service in digital footprint 100 $20-22
coverage area and analog services in the rest of the covered 200 45
area. Nationwide roaming available. Voice quality varies 500 100
and coverage is highway-focused 1000 200
PCS Reasonable digital footprint with rich feature set Large 100 $20-22
roaming footprint available with good voice quality 200 40
500 90
1000 160
PCP Regional digital coverage (local and toll) of areas where the 100 $28
user lives, works, shops and plays with attaching major 200 28
artery coverage. Limited feature oEering of those services 500 28
most wanted No roaming. 1000 28
ILEC/ Fixed traditional Wireline service with local service and rich 100 322
CLEC feature set. Toll services and extra - although nominal charge 200 22
and low penetration of services (call waitiug, call forwarding, 500 22
conference and voice mail). 1000 22

 

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The present inventors believe that the unique combination
of the business method, operations method, and network
enables the user to derive a level of service that closely
approximates that of their wireline telephone service, at a
cost that is close to their wireline service, yet with enjoying
the features of a wireless telecommunications system. These
benefits have not been offered or obtained from any of the
systems of the type known by the present inventors prior to
the present invention

The cost efficiency of the present invention is gained in
four discrete ways First, the technology employed by the
present invention is, in the view of the present inventors the
best available technology for running a wireless communi-
cation system. Second, the present invention uses the inher-
ent advantages of CDMA technology at its best. Systems
capacity is loaded and operated at a high level. This allows
the system to exploit the air interface at an optimal level.
Third, CDMA system closely tracks minutes of use from a
wireline operation model. This allows the CDMA technol-
ogy to achieve several of the advantages of fixed applica-
tions Fourth, the CDMA system avoids many of the issues
that plagued prior attempts to introduce high capacity
service, such as the PHS system discussed above. Instead,
CDMA provide high voice quality and coverage similar to
mobile service offerings of the type known prior to the
present invention

Table 8 compares mobile systems of the type known prior
to the present invention, standard wireline systems, and the

 

 

system of the present invention on a number of criteria.
TABLE 8
Comparative Perforinance
Present

Mobile Wireline lnvention
Busy-hour Erlangs
Business 20 me 80 me 0 me
Residential 10 me 50 me 50 me
Ml`.uutes of Use
(Average/Month)
Business 200~300 ~2000 0
Residential <150 ~900 950
Peak-hour System 17-20% 10-12% 10-12%
Tradic

 

In certain preferred embodiments to the present invention,
the present inventors consider the link budget of the network
of the present invention to be a key network planning
parameter. Another feature of the present invention that
distinguishes the invention from prior known systems is the
deployment of a second or third carrier frequency upon
launch of the network or shortly thereafter. As noted by
Webb, the generally accepted approach of wireless system
operators prior to the present invention was to install the
minimum capacity necessary to service the expected sub»
scriber base and not to boost capacity until demand had
saturated the system, requiring capital improvements The
present inventors, in contrast, designed their system for
capacity, as opposed to geographic coverage. In order to
achieve the highest capacity utilization, particularly in
denser populated areas of the network, a second or even a
third carrier frequency may be added nom launch of the
network of shortly thereafter. The link budget of the network
of the present invention reflects these facts

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In a preferred embodiment of the present invention, the
EB/NO equals 5.5 db. This assumes reduced mobility and
increased network capacity. The maximum number of users
per sector is normally 15 for a mobile phone system of the
type known prior to the present invention In contrast, the
maximum number of users per sector of the present inven-
tion is 19 and the average number 12.6.

Similarly, the coverage design conditions of the present
invention entail the use of a higher decibel level than in prior
known systems In a preferred network of the present
invention, the in-home design coverage condition is 12-15
db. Similarly, in building coverage is preferably designed at
18 db.

The present inventors have also been able to contain costs
through the use of centralized cost control techniques By
centralizing the operation of a number of the cost centers of
the wireless communications network, the present inventors
have been able to isolate costs and procedure. In various
preferred embodiments of the present invention, procedures
are standardized, which enables the operator to reduce costs
in order to achieve some of the advantages of the present
invention

FIGS. 21 through 34 depict various standardized pro-
cesses of the back oiiice operation of a preferred embodi-
ment of the present invention FIG. 21 depicts one such
method of standardization FIG. 21 is a flowchart depicting
how the cost center of the back oHice of an embodiment of
the present invention routes and handles call traiTlc. The
invention incorporates a series of process flows addressing
various issues such as: adding phones; removing phones;
transferring; suspending; long distance; restoring phone
service; activating and reactivating a phone; returns; and
purchases

FIG. 22 is a llowchart depicting the process for set up and
activation, The goal of the process is to provide service in
one-call resolution wherever possible FIG. 23 depicts a
process for adjusting the financial aspects of an account,
including posting credit card payment, accrediting an
account, crediting phone service, or adding a charge to an
account. FIG. 24 is a flowchart depicting how to add a phone
to an account in a preferred embodiment of the operation
method of the present invention FIG. 25 is a Howchart that
explains how to change general information on an existing
account in a preferred embodiment of the present invention
The process is complete when the subscriber’s information
has been veriiied for accuracy and the system has been
adjusted FIG. 26 depicts the process for changing a phone
number and adjusting acceptance of the optional features
offered by the wireless system operator in a preferred
embodiment of the present invention FIG. 27 depicts the
process for changing credit card information in a preferred
embodiment of the present invention Similarly, FIG. 28
depicts the process for changing recurring credit card pay-
ment information in a preferred embodiment of the present
invention FIG. 29 is a ilowchart depicting the process for
transferring a phone, in a preferred embodiment of the
present invention

One of the features of the present invention that enables
the system operator to maintain at cost is the elimination of
accounts receivable and collections This is accomplished
through billing and payment in advance of receipt of the
services

The present inventors have found that it is not sufficient
simply to prebill and require prepayment In the absence of
affirmative steps to prevent accrual of bad debt, back office
costs can still become unnecessarily high. In a preferred

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embodiment of the present invention, service is terminated
within a short period of time after the beginning of the
month, if the user has not in fact prepaid their service for that
month. Typically, in a preferred embodiment of the present
invention, if a user has not paid by the fifth day of the month,
services terminated and the account is “hotlined.” FIG. 30
depicts the process of hotlining and the process of restoring
hotlined service to an account. Since the hot]ining and
restoration is strictly a payment process on the part of the
caller, security code verification is unnecessary, further
reducing back oilice costs. An account may be hotlined
either voluntarily or involuntarily in the preferred embodi-
ment of the present invention,

FIG. 31 depicts the process for removing a phone from a
multi-phone account. FIG. 32 depicts the process of discon-
necting a phone from a single phone account. Another key
feature that the present inventors have found has helped
reduce back office costs is to detail as many of the frequently
asked questions as possible, and enable the call center to
anticipate inquiries. FIG. 33 depicts a process for dealing
with frequently asked questions and updating the standard-
ized list of frequently asked questions when call center
personnel encounters issues that have not been previously
covered.

Another key component for reducing back office costs and
achieving the cost advantages of the present invention is a
reduction in the number of billing inquiries This is accom-
plished in a preferred embodiment of the present invention
by eliminating detailed call records. Most of the call center
call traHiC relates to questions about specific calls. Elimina-
tion of detailed records eliminates that call trafhc and of the
associated costs FlG. 34 is a tlowchart that depicts the steps
involved in handling billing questions, in a preferred
embodiment of the present invention,

The present inventors believe that by standardizing as
many of the back office and call center processes as possible,
and imposing rigorous quality control, the costs associated
with operating the back oHice component of the wireless
communications network can be reduced dramatically pro-
viding a number of the advantages of the present invention.

Adapting an Existing Network Infrastructure to the
Business Model of the Present Invention

The present inventors anticipate that in view of the
distinct and substantial advantages of the present invention,
operators of networks of the type known prior to the present
invention may adapt their exiting network to the business
model, operation method, and/or network design of the
present invention, thereby expanding their level of service to
customers and deriving substantial additional revenues Due
to some of the differences in the operations method in
network design of the present invention relative to prior
known wireless communication systems, re-engineering the
cost structure of an existing network has certain distinct
advantages. The Assignee of the application is aware of
several competitors who have, after launch of Assignee’s
services, attempted to copy Assignee’s fixed price, unlimited
use oifering.

FlGS. 20a and 20b depict several of the discreet steps that
may be used in a preferred process of re-engineering the cost
structure of an existing network to achieve some of the
advantages of the present invention, For example, the
improvements in network build-out would result in lower
capital costs. Improvements in network operations of the
present invention would reduce substantially the back oiHce
and call center costs, which results in lower network oper-

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ating costs. Customer acquisition costs would also fall, due
to the rapid, simple sales cycle and direct distribution to a
larger pool of prospective customers This too would result
in lower cost per gross add. Similarly, with respect to
customer service, the high capacity and quality of the
network, simplified billing, and reduced reliance by the
customer on the back oHice operations results overall in
lower back office costs

Nonetheless, upgrading an existing PCS-type network to
provide adequate capacity for the expected first year sub-
scribers for the wireless communication service of the
present invention may require substantial capital investment.
Assuming approximately 6 percent penetration, in addition
to the existing mobility subscribers upgrading may require
incremental capital expenditures equal to approximately 70
percent of the network’s original cost.

Implementing an otfering of the type of the present
invention in addition to an established brand of wireless
service would tend to dilute and devalue the existing brand.
Creation of a separate brand for the offering of the present
invention, on the other hand, would avoid dilution to and
devaluation of the existing brand. It tends to be very difficult
for a single organization to effectively implement different
marketing strategies aimed at different audiences. Creating
a separate brand and distinct organization, therefore, would
more likely succeed by virtue of its single market focus The
offering of the present invention, however, may lead to
migration of high ARPU mobility customers to the lower
ARPU plan of the present invention. In addition, the service
offerings of existing Wireless communications networks of
the type known prior to the present invention are focused in
a different manner than that of the present invention. Exist-
ing mobility services tend to require broader geographic
coverage and enhanced features In contrast, the wireless
communication services of the present invention require
narrow geographic coverage, relatively limited features, and
high capacity.

Table 9 depict some of the assumptions and differences
between the present invention and a typical PCS based
system.

TABLE 9

 

Key Assumptions in Converting a PCS-’I‘ype System
to the System of the Present Invention

 

Assumption/Criterion PCS-Type System Present Inventioo
Covered Pots 1.0 m 1.0 m
Covered Area 1,200 kin sq 1,200 krn sq.
Cell Sites Coverage 96 96

Cell Sites Highway 10 0
Minutes of Use 325 1000

Busy Hour Days 22 24
Percent of Calls Blocked 12% 8%

Erlangs Per Subscriber 0.030 Erlangs 0.055 Erlangs

 

Table 10 depicts some of the capital expenditure required
to convert an existing network of the type known prior to the
present invention to the business method, operation, and/or
network of the present invention,

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TABLE 10

 

Capital Expeuditure to Convert an Existing PCS-Type System
to Wireless Communication Network of the Present invention

 

PCS-Tpr Present
PCS-Type System System Invention Present Inventton
Cell Sites Coverage 96 Additional Carriers 155
Highway Sites 10 Additional $2.6 M
Optimization
Tolal Capital $47.7 M Total Capital $33 6 M
Expenditure Expenditure

 

Therefore, the present inventors anticipate that it could cost
70 percent more in terms of capital expenditure to convert a
wireless communications network of the type known prior to
the present invention to the business method, operation
method, and/or network of the present invention.

In fact, other operators have attempted to copy the busi-
ness method, operations method, network, and/or system of
the present invention, In the Fall of 2000, BellSouth, AllTel,
and US Cellular, each announced the launch of unlimited
service plans in the Knoxville, Tenn.; Tucson, Ariz., and
Albuquerque, N.Mex.; and Knoxville, Tenn. markets,
respectively AllTel’s offering, in particular, provides evi-
dence of secondary considerations supporting the patent-
ability of the present invention.

Although AllTel had previously stated that they would not
launch an offering of the type of the present invention, upon
learning details of the Assignee’s success using the business
method, operations method, network, and system of the
present invention, AllTel copied some of the critical features
of the invention.

In particular, AllTel abandoned its prior skepticism of the
invention and adopted several features of the invention
including, without limitation: Hat rate billing for unlimited
service at a low level of ARPU; bill-in-advance and pay-in-
advance service; and separate branding, along with other
features

Applicant does not assert that all prepaid plan oiferings
would use the present invention For example, Freedom
Wireless, the assignee of U.S. Pat. No. 6,157,823, recently
sued a number of operators for use of a prepaid subscriber
account feature. Nonetheless, prepaid service for a prede-
termined number of minutes of use could be employed along
with other of the elements or embodiments of the present
invention, in lieu of the flat rate, unlimited use elements of
the present invention.

It Wi]l be apparent to persons of ordinary skill in the art
that various modifications and variations may be made to the
business method, operations method, network and/or system
of the present invention, without departing from the scope or
spirit of the invention, For example, each of the principal
embodiments of the invention may be used separately or in
conjunction with one or another. Further, each of the various
elements identified with each embodiment may be used
either separately, in conjunction with one another, as well as
in conjunction with elements of other or both of the remain-
ing embodiments of the present invention. Moreover,
depending on the type and disposition of the system an
operator is running, certain of the embodiments and/or
elements may provided substantial or little relative addi-
tional beneftt. The present inventors do not intend that it is
necessary to adopt any particular embodiment or all or any
particular elements of any one or more embodiments of the
invention, Rather, depending on the functionality and ben-
efits desired, the operator may use the inventions in various

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combinations of the embodiments and elements of the
intention. Various changes may be made in the network
architecture, systems, and components of the present
invention, as Well as in the technology employed and
standards governing the operation of the system. The present
inventors intend that their invention would provide a viable
business model to improve wireless communication
services, in spite of any differences in network architecture,
technology standards, or components, either as they exist
today or as they may be develop in the future. Thus, it is
intended that the present invention cover the modifications
and variations of the invention provided they come within
the scope of the appended claims and their equivalents

We claim:

1. A method of rendering wireless communications ser-
vices by a provider to one or more subscribers in return for
payment of a charge, comprising:

determining a Hat rate charge for the services;

tracking the services by an account uniquely correspon-

dent to a cellular Wireless device on which the services
are provided;

determining a period of time within which the Hat rate for

the wireless device charge shall apply;

determining a charge to the account based upon the flat

rate for the period of time;

providing by the provider of unlimited access to the

wireless communications services solely from within a
limited geographic region that approximates at least
one municipal region in exchange for the charge to the
account; and

receiving payment of the charge substantially before the

wireless communications services are rendered to the
subscriber.

2. The method of claim 1, further comprising determining
the value of the flat rate Without relation to minutes of use
by the user of the wireless communications services during
the period of time.

3. The method of claim 1, further comprising determining
the value of the flat rate without relation to the number of
calls made or received by the user during the period of time.

4. The method of claim 1, wherein the period of time
further comprises a predetermined period of tirne.

5. The method of claim 1, further comprising charging a
iiat rate for the period of time that is proportional to a rate
of less than or equal to about $50 per month,

6. The method of claim 1, further comprising charging a
Hat rate for the period of time that is proportional to a rate
of less than or equal to about S30 per month,

7 . The method of claim 1, further comprising allowing use
at a rate for the period of time that is proportional to a rate
of more than or equal to about 300 calls per month.

8. The method of claim 1, further comprising allowing use
at a rate for the period of time that is proportional to a rate
of more than or equal to about 400 minutes of use per month.

9. The method of claim 1, further comprising allowing use
at a rate for the period of time that is proportional to a rate
of more than or equal to about 600 minutes of use per month.

10. The method of claim 1, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than or equal to about 800 minutes of use per
month.

11. The method of claim l, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than or equal to about 1000 minutes of use per
month.

12. The method of claim 1, further comprising adapting
the wireless communications services as the user’s primary
telephone service.

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13. The method of claim 1, further comprising maintain-
ing the average revenue per user at a rate for the period of
time that is proportional to a rate of less than or equal to
about $40 per month, and wherein the average minutes of
use of the services per user is at a rate for the period of time
that is proportional to a rate of greater than or equal to about
200 minutes per month.

14. The method of claim 1, further comprising maintain-
ing the average revenue per user at a rate for the period of
time that is proportional to a rate of less than or equal to
about $30 per month, and wherein the average minutes of
use of the services per user is at a rate for the period of time
that is proportional to a rate of greater than or equal to about
500 minutes per month,

15. The method of claim 1, further comprising maintain-
ing the average revenue per user at a rate for the period of
time that is proportional to a rate of less than or equal to
about $30 per month, and wherein the operating expense per
user is at a rate that is proportional to a rate of less than or
equal to about $26 per month,

16. The method of claim 1, further comprising:

maintaining the average revenue per user at a rate for the

period of time that is proportional to a rate of less than
or equal to about $30 per month; and

maintaining the margin for the operator of the wireless

communications services at greater than or equal to
about 15%.

17. The method of claim 1, further comprising providing
the wireless communications services primarily in limited
geographic areas in which the user substantially lives,
works, and plays

18. The method of claim 1, further comprising maintain-
ing a user churn rate of less than about 4% for users who
have retained the services for about three or more months

19. The method of claim 1, further comprising maintain-
ing the operating expense per subscriber at a rate that is
proportional to a rate of less than or equal to about $26 per
month.

20. The method of claim 1, further comprising maintain-
ing the cash cost per unit at less than or equal to about 320.

21. The method of claim 1, further comprising maintain-
ing the acquisition cost per subscriber at less than or equal
to about $230.

22. A method of rendering wireless communications
services to one or more subscribers in return for payment of
a flat rate charge, comprising:

determining a iiat rate charge for the services;

determining a period of time within which the fiat rate

charge shall apply;
storing and tracking the fiat rate charge in an account
assigned to a cellular device of the subsriber;

providing unlimited access to the wireless communica-
tions services for the fiat rate charge during the period
of time;

receiving payment of the charge substantially before the

wireless communications services are rendered to the

t subscriber;

providing the wireless communications services solely

from a limited geographic area that approximates at
least one municipal region in Which the subscriber
substantially lives, works, and plays; and

rendering the charge for the device in a billing statement

that does not include detailed call records

23. The method of claim 22, further comprising deter-
mining the value of the fiat rate without relation to minutes
of use by the user of the wireless communications services
during the period of time.

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24. The method of claim 22, further comprising deter-
mining the value of the fiat rate without relation to the
number of calls made or received by the user during the
period of time.

25. The method of claim 22, wherein the period of time
further comprises a predetermined time period.

26. The method of claim 22, further comprising charging
a fiat rate for the period of time that is proportional to a rate
of less than or equal to about $50 per month,

27. The method of claim 22, further comprising charging
a fiat rate for the period of time that is proportional to a rate
of less than or equal to about $30 per month,

28. The method of claim 22, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than about 400 minutes of use per month,

29. The method of claim 22, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than about 600 minutes of use per month.

30. The method of claim 22, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than about 800 minutes of use per month.

31. The method of claim 22, further comprising allowing
use at a rate for the period of time that is proportional to a
rate of more than about 1000 minutes of use per month.

32. The method of claim 22, further comprising adapting
the wireless communications services as the user’s primary
telephone serw`ce.

33. The method of claim 22, further comprising main-
taining the average revenue per user at a rate for the period
of time that is proportional to a rate of less than or equal to
about $40 per month, and wherein the average minutes of
use of the services per user is at a rate that is proportional to
a rate of greater than or equal to about 200 minutes per
month.

34. The method of claim 22, further comprising main-
taining the average revenue per user at a rate for the period
of time that is proportional to a rate of less than or equal to
about 330 per month, and wherein the average minutes of
use of the services per user is at a rate that is proportional to
a rate of greater than or equal to about 500 minutes per
month.

35. The method of claim 22, further comprising main-
taining the average revenue per user at a rate for the period
of time that is proportional to a rate of less than or equal to
about $30 per month, and wherein the operating expense per
user is at a rate for the period of time that is proportional to
a rate of less than about $26 per month,

36. The method of claim 22, further comprising:

maintaining the average revenue per user at a rate for the

period of time that is proportional to a rate of less than
about $30 per month; and

maintaining the margin for the operator of the wireless

communications services at greater than or equal to
about 15%.

37. The method of claim 22, further comprising main-
taining a user churn rate of less than about 4% for users who
have retained the services for about three or more months

38. The method of claim 22, further comprising main-
taining the operating expense per subscriber at less than or
equal to about $26 per month.

39. The method of claim 22, further comprising main-
taining the cash cost per unit at less than or equal to about
$20.

40. The method of claim 22, further comprising main-
taining the acquisition cost per subscriber at less than or
equal to about $230.

41. A method of rendering wireless communications
services to one or more subscribers in return for payment of
a fiat rate charge, oomprising:

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determining a fiat rate charge for the services;

determining a period of time within which the fiat rate
charge shall apply;

storing and tracking the fiat rate charge in an account
assigned to a cellular device of the subsriber;

providing unlimited access to the Wireless communica-
tions services for the flat rate charge during the period
of time;

rendering the fiat rate charge for the device in a billing
statement that does not include detailed call records;

receiving payment of the fiat rate charge substantially
before the wireless communications services are ren-
dered to the device;

determining a limited geographic area that approximates
at least one municipal region in which the user sub-
stantially lives, works, and plays;

providing the wireless communications services only
from the determined geographic area;

maintaining centralized control of the wireless commu-
nications services; and

operating the wireless communications services to opti-

mize cost containment rather than revenue generation

42. The method of claim 41, further comprising deter-
mining the value of the fiat rate without relation to minutes
of use by the user of the wireless communications services
during the period of time.

43. The method of claim 41, further comprising deter-
mining the value of the fiat rate without relation to the
number of calls made or received by the user during the
period of time.

44. The method of claim 41, wherein the period of time
further comprises one or more months

45. The method of claim 41, further comprising charging
a flat rate of less than about $50, and wherein the period of
time comprises one or more months

46. The method of claim 41, further comprising charging
a fiat rate of less than about $30 , and wherein the period of
time comprises one or more months

47 . The method of claim 41, further comprising allowing
more than about 400 minutes of use per month.

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48. The method of claim 41, further comprising allowing
more than about 600 minutes of use per month.

49. The method of claim 41, further comprising allowing
more than about 800 minutes of use per month.

50. The method of claim 41, further comprising allowing
more than about 1000 minutes of use per month.

51. The method of claim 41, further comprising adapting
the wireless communications services as the user’s primary
telephone service.

52. The method of claim 41, further comprising main-
taining the average revenue per user at less than about $40
per month, and wherein the average minutes of use of the
services per user is greater than about 200 minutes per
month.

53. The method of claim 41, further comprising main-
taining the average revenue per user at less than about $30
per month, and wherein the average minutes of use of the
services per user is greater than about 500 minutes per
month.

54. The method of claim 41, further comprising main-
taining the average revenue per user at less than about $30
per month, and wherein the operating expense per user is
less than about $26 per month.

55. The method of claim 41, further comprising:

maintaining the average revenue per user at less than

about $30 per month; and

maintaining the margin for the operator of the wireless

communications services at greater than or equal to
about 15%.

56. The method of claim 41, further comprising main-
taining a user churn rate of less than about 4% for users who
have retained the services for about three or more months

57. The method of claim 41, further comprising main-
taining the operating expense per subscriber at less than or
equal to about $26 per month.

58. The method of claim 41, further comprising main-
taining the cash cost per unit at less than or equal to about
$20.

59. The method of claim 41, further comprising main-
taining the acquisition cost per subscriber at less than or
equal to about $230.

 

 

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I' (“) PLAINTiF”F‘s "'°""" DEFENDANTS
METROPCS COMMUNICATIONS, INC~, et 3|’ LEAP WIRELESS INTERNATIONAL, lNC., et al.

(b) County ofResidence of First Listed Plainti'ff [ZA | | A S County 0 esidence ofFirst Listed Defendant

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|:I 130 Miller Aet fl 315 Airplane Product Med. Malpractice [:l 625 Drug Related Seizure 28 USC 157 fl 430 Banks and Banking
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|:I 290 All Other Real Property l:l 445 Amer. w/Disabilities - |:l 540 Mandamus & Other Under Equal Access
Employment g 550 Civil Rights to Justice
g 446 Amer w/Disabilities - g 555 Prison Condition g 950 Constitutionality of
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Proceeding State Court Appellate Court Reopened (specit`y) Litigation Judgment

 

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VI' CAUSE OF ACTION Bnefdescription ofcause' 28 U.S.C. Sec. 2201 - Declaratory Judgment Action for Non-lnfringement and Irivalidity of
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VII. REQUESTED IN 121 cHECK iF THis is A cLAss AcrioN DEMAND s CHECK YES only if demanded m Complamt
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